THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, EX Filed in Camera and Under Seal
REL, AILEEN CARTIER;

THE COMMONWEALTH OF
MASSACHUSETTS, EX REL. AILIEEN

CARTIER; AND THE STATE OF

THE RELATOR’S FIRST AMENDED
COMPLAINT AND DEMAND FOR

RHODE ISLAND, EX. REL. AILEEN JURY TRIAL
CARTIER,
Plaintiff-Relator, Pursuant to 31 U.S.C. § 3730(B)(2);

M.G.L. C. 12, §§ 54-50;
and R.I. Gen. Laws §§ 9-1.1-1 through 9-
1.1-8

ve

CAREWELL URGENT CARE CENTERS
OF MA, P.C.; CAREWELL URGENT
CARE OF RHODE ISLAND, P.C.
(hereinafter referred to as
“CAREWELL”); and URGENT CARE
CENTERS OF NEW ENGLAND, INC.
(hereinafter referred to as “URGENT
CARE CENTERS OF Ni&W ENGLAND”),

Civil Action No. LGev12572

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Defendants.
I. SUMMARY OF CLAIM
1. This is an action against Defendants CareWell Urgent Care Centers of MA, P.C.,

CareWell Urgent Care of Rhode Island, P.C., and Urgent Care Centers of New England, Inc. to
recover treble damages and civil penalties under the federal False Claims Act, 31 U.S.C.
Sections 3729-33; the Massachusetts False Claims Act, M.G.L. C. 12, §§ SA-50; and the Rhode

Island False Claims Act, R.I. Gen. Laws §§ 9-1. 1-1 through 9-1.1-8, arising out of Defendants’
United States ex rel. Aileen Cartier v. CareWell Urgent Care Centers of MA PLC. et al.

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knowing violations of the FCA,

2. As more fully alleged herein, this action arises out of the Defendants’ continuing
schemes to defraud the United States of America, the Commonwealth of Massachusetts and the
State of Rhode Island through the submission of false and fraudulent claims for payment for
services in urgent care facilities to Medicare, Medicaid, and other federal health care programs
(“collectively, the government”).

3. The schemes date back to at least 2013 and are ongoing.

4, Claims were false and fraudulent because they were for urgent care sorvices that
were unreasonable, unnecessary, or that simply did not occur as the Defendants reported them to
have occurred.

5. Specifically, Defendants, acting jointly and/or through each other’s agency,
provided Evaluation and Management (E/M) services to patients that were unrelated to their
individual medical needs, but rather for the purpose of “upcoding” the level of services to obtain
the highest levels of Medicare and Medicaid reimbursements. The Defendants’ management
required that all patients receive a “limited complete” history and physical exam, even when the
patients’ chicf complaint did not warrant it. Requiring that all patients receive a medically
unnecessary complete history and physical exam automatically bumps up the E/M level billed
for the visit, which in turn yields higher reimbursement levels from Medicare and Medicaid. ‘This
is directly contrary to Medicare regulations which clearly state that “medical necessity of a
service is the overarching criterion for payment in addition to the individual requirements of a
CPT code. It would not be medically necessary or appropriate to bill a higher level of evaluation
and management service when a lower level of service is warranted.”

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6, The Defendants presumptively upcoded the level of service of a substantial
number of patients cither from a level 2 to a level 3, or from a level 3 to a level 4, or froma
level 2 to a level 4, rather than relying on individualized patient medical history, examination
and complexity of the medical decision making to determine the level of care most suited to each
patient’s clinical needs. ‘The difference in reimbursement between the different levels is set forth
in paragraphs 58 and 95 herein.

7. The Defendants billed for higher levels of evaluation and management services
than were documented to have been delivered to the patients. The patient records show that the
Defendants billed for a service level without complying with the Medicare and Medicaid
documentation requirements for the history, examination and decision-making components of
the CPT code billed. This is contrary to Medicare regulations which state that “to bill the highest
levels of visit codes, the services furnished must mect the definition of the code.” Three
components (history, examination and medical decision-making) primarily determine the CPT
code appropriate for the visit. Medicare regulations require that certain requirements be met
within each of the three components. ‘The Defendants failed to meet these requirements when
billing a certain level, For example, the Defendants billed a new patient visit as a level 4 (99204)
without documenting the review of ten (10) body systems or the examination of nine (9) organ
systems during the visit.

8, The Defendants added a Modifier -25 for services that were not “significant,
separatcly identifiable” evaluation and management service above and beyond the other service
provided or beyond the usual pre-operative and post-operative care associated with the procedure
that was performed. The Defendants added a Modifier -25 to laboratory tests and x-rays, even

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when such services were consistent with what is normally performed during the type of visit
required by the patient.
I. JURISDICTION AND VENUE

9, This Court has subject matter jurisdiction under 28 U.S.C Sec, 1345.

(0, The Court may exercise personal jurisdiction over the Defendants, and the venue
is appropriate in this Court, under 31 U.S.C, Sec, 3732(a) and 28 U.S.C, Sec.1391(b), because
CareWell Urgent Care Centers of Massachusetts, CareWell Urgent Care of Rhode Island, and
Urgent Care Centers of New England transact business in this District and caused the submission
of false claims in this District. Any action under Sec. 3730 may be brought in any judicial district
in which the Defendant or, in the case of multiple Defendants, any one Defendant can be found,
resides, transacts business, or in which any act proscribed by Sec. 3729 occurred.

II. FILING UNDER SEAL

If. Under the Act, this First Amended Complaint is to be filed in camera and remain
under seal for a period of at least sixty (60) days and shall not be served on Defendants until the
Court so orders.

12, As required by the FCA, Relator voluntarily submitted prior to the filing of the
Complaint, a confidential pre-filing disclosure statement (subject to the attorney-client, work-
product and common-interest privileges) to the United States Government, the Commonwealth
of Massachusetts and the State of Rhode Island.

IV. PARTIES

13. The real parties in interest as plaintiffs ave the United States of America, the

Commonwealth of Massachusetts, and the State of Rhode Island.

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A. The Relator

[4. — Relator Aileen Cartier (hereinafter referred to as “Relator Cartier”) is a resident of
the Commonwealth of Massachusetts and is a Registered Family Nurse Practitioner, licensed in
Massachusetts, California and New Mexico. Relator Cartier began working for CareWell as a
per-diem Nurse Practitioner in May of 2016 and became a full-time employee in July of 2016,
She also currently works as a Nurse Practitioner for Reliant Medical Group, in an urgent care
facility in Worcester, MA. |

B. The Defendants

BAL. Defendant CareWell Urgent Care Centers of MA, P.C.

15. Defendant CareWell Urgent Care Centers of MA, P.C, is headquartered at 2
Adams PI., Suite 305, Quincy, MA and was founded in May of 2012. It was initially known as
Shackelford Medical Group of Massachusetts, P.C. When founded, Dr. John H. Shackelford was
the company’s President and Director and Denise Esselburn was the company’s Treasurer and
Secretary.

16, In March of 2013, the company’s name was changed to CareWell Urgent Care
Centers of MA, P.C. At that time, John M. Cornwell, MD became the company’s President and
Director. Denise Esselburn remained as the company’s Treasurer and Secretary.

(7, Onor about December of 2013, James Berry replaced Denise Esselburn as the as
the company’s Treasurer and Secretary.

18 On or about December of 2015, James Jarrett replaced James Berry as the
company’s Treasurer and Secretary, Currently, John M. Cornwell, MD also serves as the
company’s Regional Medical Director,

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19. The company currently operates sixteen (16) urgent care centers across
Massachusetts. According to its website, Care Well plans to open a new urgent care center on
1088 Fall River Avenue, Seckonk, MA 02771. ‘This would make seventeen (17) lotal facilities in
Massachusetts.

a. CareWell Urgent Care Billerica is located at 510 Boston Rd., Billerica, MA
01821.

b. CareWell Urgent Care Cambridge Fresh Pond is located at 601 Concord Ave.,
Cambridge, MA 02138.

ce. CareWell Urgent Care Cambridge Inman is located at 1400 Cambridge St.,
Cambridge, MA 02138.

d. Cambridge Urgent care Fitchburg is located at 380 John Fitch Elwy., Fitchburg,

MA 01420,

&

CareWell Urgent Care Framingham is located at 50 Worcester Rd. #3,

Framingham, MA 01702.

f CareWell Urgent Care Lexington is located at 58 Bedford St., Lexington, MA
02420.

g. CareWell Urgent Care Marlborough is located at 757 Boston Post Rd. E.,
Marlborough, MA 01752.

h. CareWell Urgent Care Needham is located at 922 Highland Ave., Needham, MA
02494,

i. CareWell Urgent Care Northborough is located at 333 SW Cutofl, Northborough,

MA 01532,

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j. CareWell Urgent Care Norwell is located at 42 Washington Park Dr., Norwell,
MA 02061.
k. CareWell Urgent Care Peabody is located at 229 Andover St., Peabody, MA
01960.
I. CareWell Urgent Care Somerville is located at 349 Broadway, Somerville, MA
02145.
m, CareWell Urgent Care South Dennis is located at 484 MA-134, South Dennis,
MA 02660.
hn. CareWell Urgent Care Tewksbury is located at 345 Main St., Tewksbury, MA
01876.
o. CareWell Urgent Care Worcester Greenwood is located at 348 Greenwood St.,
Worcester, MA 01607.
p. CareWell Urgent Care Worcester Lincoln is located at 500 Lincoln St.,
Worcester, MA 01605.
B.2, Defendant CareWell Urgent Care of Rhode Istand, P.C.
20. Defendant CureWell Urgent Care of Rhode Island, P.C. is also headquartered at 2
Adams PL, Suite 305, Quincy, MA and was founded in August of 2012. The company’s
registered address in Rhode Island is 535 Centerville Road, Suite 102, Warwick, RI. Olivier
Gherardi, M.D. is the company’s President and Director.
21. In 2013, Denise Esselburn was listed as an Authorized Representative of the

Corporation: Controller.

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22. =n 2014, James Berry was the Company’s ‘Treasurer. In 2016, James Jarrett
replaced James Berry as ‘Treasurer.
23. The company operates one (1) urgent care center in Rhode Island,

a, CareWell Urgent Care Warwick is located at 535 Centerville Rd., Warwick, RI
02886.

B.3. Defendant Urgent Care Centers af New England, Inc.

24. Defendant Urgent Care Centers of New England, Inc. is also headquartered at 2
Adams PL. Suite 305, Quincy, MA and was founded in March of 2012. When founded, Renee
Lohman was the company’s President and Director. Denise Esselburn was the company’s Vicc-
President and Treasurer. Sally Michael was the company’s Secretary.

25, On or about December of 2013, Shaun Ginter replaced Renee Lohman as the
company’s President and Director. ‘Today, Lewis Geften serves as Secretary and James Jarrett is
the company’s Treasurer and Assistant Secretary.

V. CORPORATE STRUCTURE/HIERARCHY

26. Shaun Ginter currently serves as the CEO of both, Defendant CareWell Urgent
Care Centers of Massachusetts and Defendant Urgent Care Centers of New England. He is also a
Member on the Board of Directors of Urgent Care Association of America, North East Regional
Urgent Care Association, and Urgent Care Assurance Company.

27, James Berry, Treasurer and Secretary of both Care Well Urgent Care Centers of
Massachusetts and Urgent Care Centers of New England, as well as ‘Treasurer of CareWell
Urgent Care of Rhode Island, also serves as the President and Director of Multisite, Ltd. This

company develops, participates in, and consults healthcare and other operations looking to

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optimize the financial leveraging of multi-unit enterprises as well as offering consultative
services around Revenue Cycle Manageiment and other Medical Practice operating issues.

28. James Jarrett is the Chief Financial Officer of CareWell Urgent Care Centers of
Massachusetts, as well as ‘l'reasurer of Care Well Urgent Care of Rhode Island, and Treasurer and
Assistant Secretary of Urgent Care Centers of New England.

VI. RELEVANT LAW
A. The False Claims Act

29. The False Claims Act provides, in pertinent part, that any person who:

(A) knowingly presents, or causes to be presented, a false or fraudulent claim
for payment or approval;

(B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim; [or]...

(G) knowingly makes, uses, or causes to be made or used, a false record — or
statement material to an obligation to pay or transmit money or property to
the Government, or knowingly conceals or knowingly and improperly
avoids or decreases an obligation to pay or transmit money or property to
the Government, is liable to the United States Government for a civil
penalty of not less than $5,000 and not more than $10,000, ... plus 3
times the amount of damages which the Government sustains because of
the act of that person.

31 U.S.C. § 3729(a) (2006), as amended by 31 U.S.C, § 3729(a)(L) (West 2010)!
30. For purposes of the False Claims Act,
(f) the terms “knowing” and “knowingly”

(A) mean that a person, with respect to information — (1) has actual knowledge
of the information; (2) acts in deliberate ignorance of the truth or falsity of

 

' Pursuant to the [federal Civil Penalties Inflation Adjustment Act of 1990, as amended by the

Debt Collection Improvement Act of 1996, 28 U.S.C, § 2461 (notes), and 64 Fed. Reg. 47,099,
47,103 (1999), the False Claims Act civil penalties were adjusted to $5,500 to $11,000 for
violations occurring on or after September 29, 1999.
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the information; or (3) acts in reckless disregard of the truth or falsity of
the information; and

(B) require no proof of specilic intent to defraud.
31 S.C. § 3729(b) (2006), as amended by 31 U.S.C. § 3729(b) (West 2010).
B. The Medicare Program
B.1. Basic Medicare Coverage Requirements

31. Congress established the Medicare Program in 1965 to provide health insurance
coverage for people age 65 or older and for people with certain disabilities or afflictions. See 42
U.S.C. §§ 426, 426A.

32. The Medicare program is divided into four “parts” that cover different services,
Medicare Part B covers medically necessary doctor and other health care providers’ services,
outpatient care, durable medical equipment, home health care, and some preventive services.
Such services are paid under the Physician’s Fee Schedule.

33. Medicare only covers services that are “reasonable and necessary for the
diagnosis or treatment of illness or injury or to improve the functioning of a malformed body
member,” Services or supplies are considered medically necessary “if they meet the standards of
good medical practice and are: proper and needed (or the diagnosis or treatment of the
beneficiary’s medical condition; furnished for the diagnosis, direct care, and eatment of the
beneficiary’s medical condition; and not mainly for the convenience of the beneficiary, provider,
or supplier.” See Centers for Medicare & Medicaid Services, Items and Services That Are Not

Covered Under the Medicare Program, ICN 906765, January 2015.

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34. Medicare does not cover any excess components that are not medically reasonable
and necessary. “Excess component” means an item, feature, or service, and/or the extent of,
number of, duration of, or expense for an item, feature, or service, which is in addition lo, or iy
more extensive and/or more expensive than, the item or service which is reasonable and
necessary under Medicare’s coverage requirements.” See Medicare Claims Processing Manual,
Chapter, § 20.1.3.

35. In order to make it possible to assess whether services are reasonable and
necessary, and therefore cligible for reimbursement, Medicare rules require proper and complete
documentation of the services rendered to beneficiaries. [n particular, the Medicare statute
provides that:

no such payments shall be made to any provider unless it has furnished such information

as the Secretary may request in order to determine the amounts due such provider under
this part for the period with respect to which the amounts are being paid or any prior period.

42 S.C. § 1395g(a).
B.2. Medicare Reimbursements for Urgent Care Services

36. Urgent Care Services are defined in 42 CFR 405.400 as services furnished within
[2 hours in order to avoid the likely onset of an emergency medical condition. See Medicare
Benefit Policy Manual, Chapter 15, § 40.29,

37. Urgent care centers bill Medicare for Evaluation and Management (E/M) services
using Current Procedural Terminology (CPT) codes that best represent Patient Type (whether
New or Established), Setting of Service (Point of Service code 20) and Level of Service
performed, See Centers for Medicare & Medicaid Services, Evaluation and Management

Services, [CN 006764, August 2016.

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38. For billing Medicare, a provider may use either the 1995 or the 1997 version of
the Documentation Guidelines for Evaluation and Management Services for a patient encounter,
but not a combination of the two. For reporting services furnished on and after September 10,
2013, to Medicare, a provider may use the 1997 documentation guidelines for an extended
history of present illness along with other elements from the 1995 documentation guidelines to
document an evaluation and management service. See Centers for Medicare & Medicaid
Services, Evaluation and Management Services, ICN 006764, August 2016.

39. Any physician or non-physician practitioner (NPP) authorized to bill Medicare
services will be paid by the Medicare Administrative Contractor (MAC) at the appropriate
physician fee schedule amount based on the rendering UPIN/PIN. See Medicare Claims
Processing Manual, Pub. No. 100-04, Chapter 12, § 30.6.1. B.

40. Physician and non-physician practitioners’ (NPP) services are paid at non-facility
rates for procedures furnished in an urgent care facility, See Centers for Medicare & Medicaid
Services, MLN Matters Number: MM7631, April 1, 2013.

41. Medical necessity of a service is the overarching criterion for payment in addition
to the individual requirements of a CPT cade. It would not be medically necessary or appropriate
to bill a higher level of evaluation and management service when a lower level of service is
warranted, The volume of documentation should not be the primary influence upon which a
specific level of service is billed. Documentation should support the level of service reported.
The service should be documented during, or as soon as practicable after it is provided in order
to maintain an accurate medical record. See Medicare Claims Processing Manual, Pub. No. 100-
04, Chapter 12, § 30.6.1. A.

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42. The descriptors for the levels of E/M services recognize seven components which
are used in defining the levels of :/M services. ‘hese components are: history; examination;
medical decision making; counseling; coordination of care; nature of presenting problem; and
time, The first three of these components (i.e., history, examination and medical decision
making) are the key components in selecting the level of K/M services. The 1997 Documentation
Guidelines For Evaluation And Management Services describes each component below. The
1995 Documentation Guidelines For Evaluation And Management Services ave also referenced
when they differ from the guidelines listed in the 1997 version.

43. The principles of documentation listed below are applicable to all types of
medical and surgical services in all settings. ‘or Evaluation and Management (E/M) services, the
nature and amount of physician work and documentation varies by type of service, place of
service and the patient’s status. The general principles listed below may be modified to account
for these variable circumstances in providing E/M services,

The medical record should be complete and legible.
The documentation of each patient encounter should include: reason for encounter
and relevant history, physical examination findings, and prior diagnostic test
results; assessment, clinical impression, or diagnosis; plan for care; and date and
legible identity of the observer.

e Ifnot documented, the rationale for ordering diagnostic and other ancillary
services should be easily inferred.

e Past and present diagnoses should be accessible to the treating and/or consulting
physician.

e Appropriate health risk factors should be identified.
The patient’s progress, response to and changes in treatment, and revision of
diagnosis should be documented.

© The CPT and ICD-9-CM codes reported on the health insurance claim form
should be supported by the documentation in the medical record.

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44, The levels of F/M services are based on four levels of history (Problem Mocused,
Expanded Problem Focused, Detailed, and Comprehensive), Each type of history includes some
or all of the following elements; Chief complaint (CC), History of present illness (HPD), Review
of systems (ROS) and Past, family, and/or social history (PFS).

45. The Chicf Complaint is a concise statement describing the symptom, problem,
condition, diagnosis, physician recommended return, or other factor that is the reason for the
encounter, usually stated in the patient’s own words. The medical records should clearly reflect
the chief complaint.

46. The History of Present Illness is a chronological description of the development
of the patient’s present illness from the first sign and/or symptom or from the previous encounter
to the present. It includes the following elements: location, quality, severity, duration, timing,
context, modifying factors, and associated signs and symptoms. A brief EPI consists of one to
three elements of the FIPI. An extended HPI consists of at least four elements of the [PT or the
status of at least three chronic or inactive conditions.

47. A Review of Systems is an inventory of body systems obtained through a series of
questions seeking to identify signs and/or symptoms that the patient may be experiencing or has
experienced. For purposes of ROS, the following systems are recognized: Constitutional
Symptoms (e.g. fever, weight loss); Eyes; Ears, Nose, Mouth, and Throat; Cardiovascular;
Respiratory; Gastrointestinal; Genitourinary; Musculoskeletal; Integumentary (skin and/or
breast); Neurological; Psychiatric; Endocrine; Hematologic/Lymphatic; Allergic/Immunologic.
A problem pertinent Review of Systems inquires about the system directly related to the
problem(s) identified in the History of Present Illness, An extended Review of Systems inquires

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about the system directly related to the problem(s) identified in the History of Present [ness and
a limited number of additional systems (two to nine systems should be documented), A
complete Review of Systems inquires about the system(s) directly related to the problem(s)
identified in the History of Present [lness, plus all additional body systems (at least ten organ
systems must be reviewed and individually documented).

48. The Past, Family, and/or Social History consists of a review of the patient’s past
experiences with illnesses, operations, injuries and treatments; a review of medical events in the
patient’s family, including diseases which maybe hereditary or place the patient at risk; and an
age appropriate review of past and current activities. A pertinent Past, Family, and/or Social
History is a review of the history area(s) directly related to the problem(s) identified in the
History of Present [Ilness (at least one specific item from any of the three history areas must
be documented). A complete Past, Family, and/or Social History is a review of two or all three of
the Past, Family, and/or Social History areas, depending on the category of the E/M service (at
least one specific item from two of the three history arcas must be documented), A review of
all three history areas is required for services that by their nature include a comprehensive
assessment or reassessment of the patient. A review of two of the three history areas is sufficient
for other services.

49. The table below depicts the elements required for each type of history. To quality
for a given type of history all three elements in the table must be met. (A chief complaint is

required at all levels.)

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50. The levels of E/M services are also based on four types of examination:

a. Problem Focused is a limited examination of the affected body area or
organ system.

b. Expanded Problem Focused is a limited examination of the affected body
area or organ system and any other symptomatic or related body areas or
organ systems,

¢. Detailed is an extended examination of the affected body areas or organ
systems and any other symptomatic or related body areas or organ system.

d. Comprehensive is a general multi-system examination, or complete
examination ofa single organ system and other symptomatic or related
body arcas or organ systems.

S|. These types of examinations have been defined for general multi-system and the
following single organ systems? Cardiovascular; Bars, Nose, Mouth, and Throat; Eyes:
Genitourinary (Female); Genitourinary (Male); Hematologic/Lymphatic/Immunologic;
Musculoskeletal; Neurological; Psychiatric; Respiratory; and Skin. ‘The type (general

multisystem or single organ system) and content of examination are selected by the examining

 

? The (995 Documentation Guidelines for Evaluation and Management Services recognizes two
(2) more organ systems for the purposes of examination: constitutional (c.g. vital signs, general
appearances) and gastrointestinal. This makes a total of twelve (12) organ systems.

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physician and are based upon clinical judgment, the patient’s history, and the nature of the
presenting problem(s).

32. The following content and documentation requirements should be met for General
Mullti-System Examinations: |

a, Problem Focused examination should include performance aud
documentation of one to five clements in one or more organ system(s)
or body area(s).

b. Expanded Problem Focused examination should include performance and
documentation of at least six elements in one or more organ system(s)
or body area(s).

¢. Detailed examination should include performance and documentation of
at least two elements in at least six organ systems or body areas.
Alternatively, a detailed examination may include performance and
documentation of at least twelve elements in two or more organ
systems or body areas.

d. Comprehensive examination or complete examination should include
performance of all elements? and documentation of at least two elements

in at least nine organ systems or body areas.’

 

7 Unless specific directions limit the content of the examination.

4 The 1995 Documentation Guidelines for Evaluation and Management Services states that “the
medical record for a general multi-system examination should include findings about 8 or more
of the 12 organ systems.”

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53. The following content and documentation requirements should be met for a Single
Organ System examination:

a. Problem Focused examination should include performance and documentation of
one to five elements.

b. Expanded Problem Focused Examination should include performance and
documentation of at least six elements.

c. Detailed examinations other than the eye and psychiatric examinations should
include performance and documentation of at least twelve elements. Detailed
eye and psychiatric examinations should include the performance and
documentation of at least nine elements.

d. Comprehensive examination should include performance of all clements.
Documentation requirements vary by which organ system is examined.

24. The levels of E/M services recognize four types of medical decision making
(straightforward, low complexity, moderate complexity and high complexity). Medical decision
making refers to the complexity of establishing a diagnosis and/or selecting a management
option ag measured by:

a. the number of possible diagnoses and/or the number of management options that
must be considered (based on the number and types of problems addressed during
the encounter, the complexity of establishing a diagnosis and the management
decisions that are made by the physician);

b. the amount and/or complexity of medical records, diagnostic tests, and/or other
information that must be obtained, reviewed and analyzed; and

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c. the risk of significant complications, morbidity and/or mortality, as well as
comorbidities, associated with the patient’s presenting problem(s), the diagnostic
procedure(s) and/or the possible management options.

55. ‘The chart below shows the progression of the elements required for each level of
medical decision making. ‘To qualify for a given type of decision making, two of the three

elements in the table must be either met or exceeded,

 

 

 

 

 

 

 

 

 

Amount and/or Risk of complications | Tyne of decision
Number of dlagnases complexity of data to and/or morbiily or making
of manegament options | be reviewed mortality
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Limited Limited Low Low Comploxity
Mulltpta Moderate Moderate

Moderato Complex.
Extensive Extensive High High Camploxt
rrr

56. — The assessment of risk of the presenting problem(s) is based on the risk related to
the disease process anticipated between the present encounter and the next one. The assessment
of risk of selecting diagnostic procedures and management options is based on the risk during
and immediately following any procedures or treatment, The highest level of risk in any one
category (presenting problem(s), diagnostic procedure(s), or management options) determines

the overall risk.

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TABLE OF RISK

 

 

 

 

 

 

 

 

 

 

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minor probleme siresa. og, pulmonary function Minor surgery with nq Ideniiflod
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tow nan-Insulin dependent studies with contrast, og. barfum Oceanatanal Therapy
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with mild exacerbation, Og, carttlac atress test, fated risk facto
prograeton, of side effacts cf | cantraciion otrese toot Eloctlva maior surgery (open,
traatnnedt! Diagnostic extascomes withaa «| percutaneous of ondoscopia)
Two of more stable chronic tdentitiad risk factors wath no idaneiied risk factors
Tinesa0d Deep needle or incisional blopay | Prescription drug management
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Actita [Biase wits aysteinta ' cardiac exibetesization dislocation weittrout
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head injury with Grlet loss of
conaciousness
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progression, of sida affects of =| factars with (danttied tek factom
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injuries that pos 4 threat (6 fo | identidad risk (actors endosceptc)
Or bodily hunation, eq. mutipia =| Olacography Parenteral cantrated
trauma, acuta Mi, pulmonary substances
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distress, progressive saveta tetansive monttarng far toxicity
houmateld arthritis, payehiatria Oaciaton nol to reauecttate or
Kinase with potontal thidat to to da-ascalate caro because of
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An abrunt change In naurotogic
status, oy, solzure, TIA,
waaknead, sergory 03a

 

 

57. Urgent Care visits are billed using CPT codes 99201-99215, The table below
from the American Medical Association summarizes the Medicare E/M documentation
regulations pertaining to the components and time requirements for each CPT code. As an
example, Level 4 CPT codes (99204 for New Patients and 99214 for Established Patients)
require at least a detailed documentation of the patient’s History, at least a detailed Physical

Examination, and a moderately complex Medical Decision-making, A level 4 visit for new

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patients lasts about 45 minutes, whereas a level 4 visit for established patients lasts about 25

minutes.

Cry Coding Guidelines tur Office Vinibs Drcrmere, 18

Documentetion in the cHnleal recurd cust support the loval of service os coded and billed.

(he Key Components + ifistory, Uxastination, amt Medical Decision Making - must be considered ay
determining the appnepriale cade flirvel of service) lobe anigned far s given viail,

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for petabligheal patfonte, tng ttf thu three key components cust meet ur exceed the recprtrements,

 

Netaile of {letary Details of Examination
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cation eng cong inchual cu ution!
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1. ature uf the Prosanting prabless (minimal, self-limited / miner, low, muderaty, oe titgh eaverity)
2, coordination nf care with other health core profenatanala *

i. gauriealiing

4. Une » see chart below for “typical” Hm kpent face-to-face with patient/ Gamily for Ihe vartons fevela ut aetviig

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foctor in deturnrtirinys the appropilate vato and the (otal time spent should be clearly dacumented

 

 

 

 

 

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American Medical Association

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58. Medicare reimbursement varies by CPT code and locality of service. Higher level
codes represent more complex visits and yield higher reimbursement levels, [n order to bill the
highest levels of visit codes, the services furnished must meet the definition of the code. See
Medicare Claims Processing Manual, Pub. No. 100-04, Chapter 12, § 30.6.1. D. The table below
shows the nationwide reimbursement for different urgent care services as well as reimbursement
for different urgent care services in different regions within the Commonwealth of

Massachusetts.*

NATION- METROPOLITAN REST OF

PATIENT WIDE BOSTON MASSACHUSETTS
LEVEL TYPE = MODIFIER (0000000) (1421201) (1421299)
1 New 99201 $ 44.04 $ 47.73 $ 45,30
1 Established 99211 $ 20.05 $ 22.18 $ 20.90
2 New 99202 $ 75.19 $ 81.02 $ 77.23
2 Established 99212 $ 43.68 $ 47.51 $ 45.08
3 New 99203 $108.85 $ 116.23 § 111.13
3 Established 99213 $ 73.40 $ 78.92 §$ 75.42
4 New 99204 $166.13 $ 176.21 $ 169.30
4 Established 99214 $ 108.13 $ 115.96 $ 111.03

B.3. Modifier -25
39, There are circumstances when it is appropriate to report an E/M service code in
addition to the procedures provided on the same date, provided the key components (i.c. history,
examination and medical decision making) are met. In such cases, a Modifier -25 can be added
to the CPT code. Medicare requires that Current Procedural Terminology (CPT) modifier -25

“shall be appended to the medically necessary E/M service identifying this service as a

 

* Data retrieved from https://www.cms,gov/apps/physician-lee-schedule/search/search-

criteria.aspx
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significant, separately identifiable service... and only when these services are provided by the
same physician (or same qualified non-physician practitioner) to the same patient on the same
day as another procedure or other service... above and beyond the usual pre- and post-operative
work of the procedure, Different diagnoses are not required for reporting the E/M service on the
same date as the procedure or other service.” See Medicare Claims Processing Manual,
Publication 100-04, Chapter 12, Section 30.6.
C. The Medicaid Program

60. Established in 1965, Medicaid is the largest publicly financed program providing
health and long-term care coverage for certain groups of low-income people throughout the
United States. Authorized under Title XIX of the Social Security Act, Medicaid is a means-tested
individual and state entitlement program jointly financed by states and the federal government.
Medicaid eligibility is limited to individuals who fall into five broad coverage categories:
children; pregnant women; adults in families with dependent children; individuals with
disabilities; and the elderly. In addition to categorical eligibility, persons must also meet income
and asset requirements, as well as immigration and residency requirements.®

61. ‘The federal government shares the States’ cost of providing coverage for certain
basic or mandatory services to most categorically needy Medicaid beneticiaries. ‘The federal
government pays states for a specified percentuge of program expenditures, called the Federal
Medical Assistance Percentage (FMAP). The FMAP varies by state based on criteria such as per
capita income. The regular average state FMAP is 57%, but ranges from 50% in wealthier states

up to 75% in states with lower per capita incomes (the maximum regular FMAP is 82

 

® Retrieved from https://www.medicaid. gov/medicaid/eligibilily/index.hluml
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%). FMAPs are adjusted for cach state on a three-year cycle to account for fluctuations in the
economy. Thus, claims submitted to state Medicaid programs cause claims to be made to both
the United States and the state.’

Cul. Massachusetts Regulations

62. In Massachusetts, Medicaid and the Children’s Health Insurance Program (CHIP)
are combined into one program called MassLlealth. MassHeath offers health care services,
including doctor visits, prescription drugs and hospital stays, to low-and medium-income people
living in Massachusetts.*

63. The MassHealth agency will not pay a provider for services that are not medically
necessary and may impose sanctions on a provider for providing or prescribing a service or for
admitting a member to an inpatient facility where such service or admission is not medically
necessary. |

(A) A service is “medically necessary” if:
® itis reasonably calculated to prevent, diagnose, prevent the worsening of,
alleviate, correct, or cure conditions in the member that endanger life, cause
suffering or pain, cause physical deformity or malfunction, threaten to cause
or to aggravate a handicap, or result in illness or infirmity; and
e there is no other medical service or site of scrvice, comparable in effect,
available, and suilable for the member requesting the service, that is more

conservative or less costly to the MassHealth agency. Services that are less

 

7 Retrieved from https://www. medicaid. gov/medicaid/financing-and-reimbursement/
* Retrieved from http://www.mass.gov/cohhs/gov/departments/masshealth/
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costly to the MassFealth agency include, but are not limited to, health care
reasonably known by the provider, or identified by the Massflealth agency
pursuant to a prior-authorization request, to be available to the member
through sources described in 130 CMR 450.317(C), 503.007, or 517.007.

(B) Medically necessary services must be of a quality that meets professionally
recognized standards of health care, and must be substantiated by records
including evidence of such medical necessity and quality. A provider must make
those records, including medical records, available to the MassHealth agency
upon request. (See 42 U.S.C. 1396a(a)(30) and 42 CFR 440.230 and 440.260.)

(C) A provider’s opinion or clinical determination that a service is not medically
necessary docs not constitute an action by the MassElealth agency.

(D) Additional requirements about the medical necessity of acute inpatient hospital
admissions are contained in 130 CMR 415.414.

(E) Any regulatory or contractual exclusion from payment of experimental or
unproven services refers to any service for which there is insufficient authoritative
evidence that such service is reasonably calculated to have the effect described in
130 CMR 450.204(A)(1).

See 130 CMR 450.204.
C.2. Rhode Island Regulations
64. — Rhode Island Medicaid offers health coverage through two participating Medicaid
health plans: Rite Care and Rite Share. The focus of Rite Care is to ensure that families on the

Family Independence Program (FIP) - formerly the AFDC program - and eligible uninsured

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pregnant women, children, and families have access to comprehensive health care services. Rite
Care utilizes United Healthcare Community Plan of New England or Neighborhood Health Plan
of RI to provide coverage. Rite Share is a premium assistance program that pays all or a portion
of an eligible employee's share of employer-sponsored health insurance premiums.”

65. The Rhode Island Medicaid Program provides payment for covered services only
when the services are determined to be medically necessary. The term “medical necessity” or
“medically necessary service” means medical, surgical, or other services required for the
prevention, diagnosis, cure or treatment of a health related condition including such services
necessary to prevent a decremental change in cither medical or mental health status. Medically
necessary services must be provided in the most cost effective and appropriate setting and shall
not be provided solely for the convenience of the beneficiary, caretaker, or service provider. See
RI Medicaid Provider Reference Manual, General Guidelines, Version 1.2, January, 2016.

VII. CAREWELL’S RELATIONSHIP WITO_ URGENT CARE CENTERS

66.  CareWell owns the seventeen (17) urgent care centers for which it provides
evaluation and management services to its patients and, on information and belief, certain

CareWell medical providers bill Medicare and Medicaid for the services.

VEIL. COMPANY-WIDE PRACTICES AND FACTS RELATING TO FALSE AND
FRAUDULENT SCHEMES (COUNTS LAND II BELOW)

67, The Relator observed that al each CareWell urgent care center, CareWell employs

 

an on-site manager known as the Practice Manager. That individual oversees the day to day

operations at the facility (including scheduling, staff taining, and review of billing charts) and

 

* Retrieved trom
http://www.cohhs.ri.zov/Consumer/FamilicswithChildren/ HealthcareProprams.aspx
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reports to the Market Leader in the respective territory. The Market Leader oversees the
operations in several facilities within a territory in Massachusetts, cnsures that budget and
financial expectations are met, and reports to higher management at CareWell, including Shaun
Ginter (CEO) and John Cornwell, MD (President and Regional Medical Director for
Massachusetts).

68, During her period of employment with the Defendants, Relator Cartier made
observations and was told specific information which confirmed that the fraudulent practices and
procedures referenced herein, including those violating Medicare and Medicaid regulations,
originated and emanated from CareWell’s management at the company headquarters in Quincy,
MA. The wrongdoing as described herein is not limited to particular Care Well centers, but rather
the fraud is a set of systematic and companywide schemes implemented throughout Care Well
facilities to maximize Medicare and Medicaid reimbursements. The company practices and
mandates as described herein are in fact implemented rigidly from management down to the
practice managers, physicians, nurse practitioners and billers.

A. Use of Athena, a Company-wide Real-time Software Program

69. The Relator states that all CareWell facilities use the Athena software for patient
documentation and that the data is inputted into the software at cach facilily and received real
time at the company headquarters, This means that the management of CareWell monitors every
aspect of the operations occurring at all the CareWell urgent care facilities real-time via the
computer system and knows daily whether or not the company’s mandates are being met. The
Relator has worked at six (6) separate CareWell facilities and has used this software to record

and document the evaluation and treatment of her patients. The six (6) facilities are Cambridge

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Inman, Cambridge Fresh Pond, Somerville, Northborough, Worcester Lincoln and Worcester
Greenwood. The Relator observed that providers working at multiple facilities select the facility
they want to access after logging into Athena and can then access patient records from any
CareWell facility. This indicated to the Relator that patient information from the different
facilities is recorded into the same software system and can be accessed from any CareWell
urgent care facility.

70. In September of 2016, during a telephone conversation with Dr. John Cornwell,
the Relator learned that the computer system operates in real-time, Dr. Cornwell had called the
Relator to discuss her billing practices. He said that he was going through the Relator’s charts in
real-time and that she was not billing correctly. The Relator said that she was billing based on the
medical complexity of the patients’ actual conditions as observed. However, Dr. Cornwell
insisted that the patients should have been billed a level higher than the Relator had coded them.

71. — The significance of the use of the real-time software program is that it shows that
the fraudulent schemes orchestrated by the company management are implemented by
management through this system. This also confirms the company’s management knowledge of
the wrongdoing,

IX. COMPANY WRONGDOING

72. CareWell employs physicians, nurse practitioners, physician assistants, nurses,
medical assistants, radiology technicians, and other medical providers to oversee patient care,
evaluate patient medical conditions, and attend to patient needs in accordance with medical
standards in their particular field. The Relator observed that when a patient is sent to a CareWelll
facility, he/she undergoes an admission process which requires an exchange of information. This

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includes filling out the “Intake” forms in an iPad. Then, the patient is directed into an
examination room where the nurse or medical assistant obtains the patient’s vital signs data
(pulse, blood pressure, etc), and documents the history component of the visit (including a
review of systems). The nurse or medical assistant also performs any necessary baseline testing,
such as urine dipstick or strep tests. The nurse or medical assistant then leaves the examination
room and notifies the physician, nurse practitioner or physician’s assistant that the patient is
ready to be seen, The nurse or medial assistant also provides the physician, nurse practitioner, or
physician’s assistant with a verbal summary of the patient’s condition. The physician, nurse
practitioner, or physician’s assistant first reviews the information the nurse or medical assistant
documented in the Athena software and then enters the examination room to attend to the patient.
The physician or nurse practitioner examines and treats the patient for the reason the patient

came into the facility and orders any additional, more complicated!” tests that may be needed,
such as STD testing or adenovirus tests. ‘The physician or nurse practitioner then leaves the exam
room to print and fill out the discharge forms. In general, the patient waits between five (5) to
thirty (30) minutes for the test results to generate and for the physician or nurse practitioner to
interpret them, If no test results are pending, the physician or nurse practitioner returns to the
examination room a few minutes later, the patient signs the discharge documents, and the visit is
completed. Once the patient has left the examination room, the physician or nurse practitioner

edits/completes documentation in the Athena software and enters the CPT code to be billed for

 

' The Relator states that the following are among the tests and medications not administered at
the Care Well facilities. These tests and medications have to be ordered from elsewhere:
blood tests and STD tests.
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the visit. The wrongdoing, as explained below, begins the moment the patient enters the exam

room.

 

and Management Services Unrelated to the Patients’? Medical Needs

73. ‘The type of review of systems and physical examination performed on each

patient is, by regulation, a matter of clinical judgment for each medical provider, be it doctor,
nurse practitioner, or nurse. Indeed, to meet the requirements of Medicare and Medicaid, each
patient must be individually evaluated by a trained medical provider in order to properly assess
the patient’s individual care needs.'' However, CareWell usurps the role of the medical
providers by mandating that each patient receive a “limited complete” review of systems
and physical exam, regardless of whether there is a need for it. By requiring these reviews
and physical examinations, CareWell automatically bumps up the service levels billed
under the CPT codes, thereby fraudulently increasing Medicare and Medicaid
reimbursements.

74. ~~ Ateuch CareWell urgent care facility, as mentioned, once the patients are in the
exam room, the nurses or the medical assistants take the patients’ vital signs and document the
history component of the visit in the Athena software, In doing this, the nurses and medical
assistants document the patients’ chief complaint (CC), history of present illness (HPI), review

of systems (ROS) and past, family, and/or social history (PFSIH). After documenting the chief

 

'' Medicare only covers services that are “reasonable and necessary for the diagnosis or
treatment of illness or injury or to improve the functioning ofa malformed body member.” See
paragraph 33 herein. ‘This means that the services furnished must be consistent with the nature
and severity of the patient’s individual illness, injury, or particular medical needs.

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complaint and a brief chronological description of the development of the patients’ present
illness, the nurses or medical assistants ask a series of questions to identily the signs and/or

symptoms that the patients may be experiencing or have experienced. The Defendants mandate

that a “limited complete!” review of systems be documented for all patients. The Care Weil

requirement is that the nurses and medical assistants must document as having asked at least one
(1) question for thirteen (13) separate body systems during all patient visits, even when such
reviews are not medically necessary because the patients’ chief complaint does not warrant it.
75. After the nurses or medical assistants have documented the history component
and performed the necessary baseline tests, the patients are examined by a physician, nurse
practitioner or physician’s assistant. Per Medicare regulations, “the type (general multisystem or
single organ system) and content of examination are selected by the examining physician and are
based upon clinical judgment, the patient’s history, and the nature of the presenting problem(s).”
See paragraph 51 herein. Contrary to Medicare regulations, the Defendants mandate that the
physicians, nurse practitioners, and physician’s assistants examining the patients perform a
“limited complete” physical examination on all patients, rather than relying on the patients’
individual clinical needs. This means that the physicians and nurse practitioners must examine
every budy system'* and document at least one element from each system during all patient
visits, without relation to the nature of the patients’ presenting problems, history, or condition as

observed during the visit. By requiring that all patients have at least thirteen (13) body systems

 

'2 Medicare defines a “complete” review of systems as the review and individual documentation

of at least ten body systems.

'S With the exception of the genitourinary system (breast and rectal), which are examined only if
the patient’s chief complaint is relating to these areas,

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examined', the Defendants supersede the examining physicians’ or nurse practitioners’ clinical
judgement of what is medically necessary.

76. The Relator observed that Dr. Cornwell visited the Cambridge Fresh Pond facility
sometime in late June/early July of 2016, shortly after she began working for CareWell, to tell
the Relator about the company’s requirements and “apply pressure” to the other employees to
follow the company’s mandates. Dr. Cornwell told the Relator to “examine at least one item
from all body systems.” Ele suggested that the Relator “choose things that are easy to see under
every category.” In other words, the physicians and nurse practitioners are to document at least
one element from each body system that can be easily observed simply by looking at the
patients. The Relator also saw Dr. Cornwell speak to Christina Sok, Registered Nurse working at
Cambridge Inman and Cambridge Fresh Pond, emphasizing the need to document a “limited
complete” review of systems for all patients,

77, Asan example, ifa 10-year-old patient’s chief complaint is finger pain duc a
sports related injury, the patient’s management would not require that the nurse or the medical
assistant inquire about whether or not the patient has experienced slecp disturbances
(psychiatric), has chest pain (cardiovascular), or is experiencing fatigue (endocrine). In this
example, the patient’s management also does not require that the physician, nurse practitioner, or
physician’s assistant examine the patient’s head, eyes, eur/nose/mouth/throat, neck, lungs, or
abdomen. Such inquiries and examinations are not medically necessary for the diagnosis or

treatment of the illness/injury at issue and there is no reason for them to be performed.

 

' Per CareWell’s mandates, the body systems that must be reviewed during all patient visits
include: Constitutional; Psychiatric; -lead; Eyes; Bars, Nose, Mouth, Throat; Neck; Lungs;
Cardiovascular; Abdomen: Musculoskeletal; Neurologic; Skin; and Back,

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Nonetheless, this is what happens with each CareWell patient by specific corporate mandates.
Documentation of these inquiries and examinations invariably correlates with higher evaluation
and management service levels, Care Well mandates that the nurses or medical assistants inquire
about, and that the physicians, nurse practitioners or physician’s assistants examine, more body
systems than is medically necessary in order to bump up the level of service billed for the visit.
This is directly contrary to Medicare regulations which state that “medical necessity of a service
is the overarching criterion for payment in addition to the individual requirements of a CPT code.
It would not be medically necessary or appropriate to bill a higher level of evaluation and
management service when a lower level of service is warranted.” See paragraph 41 herein. No
clinical reasoning or support is used in determining the level of history and physical examination
performed and documented for the patients.

78. Anemail sent to the providers at the different facilities on 09/08/2016 by John
Cornwell, MD (President of CareWell, Regional Medical Director) stated: “When we move to
streamlined [sic] the intake process includes the ROS (review of systems) and the CareWell
template will be loaded into the chart. As a provider you may edit or change it as indicated... The
limited complete review of systems will be standard of care for carewell [sic] on every patient
every time. Staff are being trained to do this to facilitate patient care.” Based on information, the
Relator states that no additional training has been done.

79. = On or about 10/11/2016, the Relator decided to perform and document the review
of systems on the patients she treated, instead of having the nurses/medical assistants continue to
do so. The reason she did this was because she noticed that the answers to the review of system
questions documented by the nurses and medical assistants in the Athena soliware were

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inconsistent with the answers the patients gave to the Relator during her evaluation and treatment
of the patients. ‘This caused her to conclude that the nurses and medical assistants simply selected
thirteen (13) answers from a template, one for each body system, without actually asking the
questions about the thirteen (13) body systems during the patient visits. The Relator does not
know whether or not the nurses and medical assistants actually asked the questions before
selecting an answer when documenting the patients’ review of systems. On information and
belief, it appears they did not do so.

80. The Relator recalls a conversation she had with Christina Sok, a Registered Nurse
working at the CareWell Cambridge Inman and Cambridge Fresh Pond facilities, on 12/13/2016.
Ms. Sok was expressing frustration about Dr. Shehzaad Zaman, a physician at the Cambridge
Inman facility. Ms. Sok told the Relator that she had asked Dr. Zaman if he actually asks all of
the questions during the review of systems. Dr. Zaman had said “nol exactly.” Ms. Sok
proceeded to ask if, for example, he asked a patient with symptoms related to a urinary tract
infection whether he/she has had a cough. Dr. Zaman said “no,” but that he documented all the
systems nonetheless because Dr. Cornwell had asked him to.

81. The Relator also recalls a conversation she had with Shannon'*, a Registered
Nurse working at the Care Well Worcester Greenwood facility, occurring on 10/29/2016.
Shannon told the Relator that she was instructed by the head nurse at the facility to “select one
thing from every category, she never told me that [ had to actually ask the questions.” In
September of 2016, the Relator had also been told the same thing by Abby Luberice, a former

nurse at the Cambridge Inman facility. Ms. Luberice told the Relator she was instructed to “just

 

* ‘The Relator does not know Shannon’s last name at this time.
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make sure that [ check a box from every category.”

82. When the Relator performed a review of systems and physical examinations she
used written coding guidelines she received from another employer in determining the level of .
service to be billed for each visit. These guidelines are reflective of the 1995 Documentation
Guidelines for Evaluation and Management Services. She had not been provided with any
coding guidelines from CareWell and does not believe any other employees were provided with
coding guidelines, Based upon the patients’ presenting problems, the Relator determined that a
“complete,” 13-point review of systems was not medically necessary, so she would perform a
limited, problem focused review of systems on those patients with minor problems, stable vital
signs, and no comorbidities, At the same time, the Relator would cxamine only the body systems
related to the patients’ presenting problems. However, Care Well management demanded that the
Relator meet the company’s mandates for a “limited complete” review of systems and physical
examination, cven when the application of these mandates was medically unnecessary for the
diagnosis or treatment of the patients’ illnesses or injuries. These demands are what ultimately
lead the Relator to meet with the Massachusetts’ Attorney General’s office on 10/19/2016 to
express concerns regarding the Delendunts’ practices, which she believes are fraudulent.

83. Between 10/21/2016 and 10/31/2016, Relator Carlier purposely refused to follow
CareWell’s mandates and performed only a review of systems and physical examination that she
felt were medically necessary. ‘This resulted in lower coding for the patient visits and was noticed
by upper management at Care Well, setting off a flurry of emails to her with instructions on how
to evaluate and bill according to the Defendants’ policies.

84. = On 10/26/2016, Courtney Kelliehan, Practice Manager at both Cambridge Inman

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and Cambridge Fresh Pond, sent Relator Cartier and Christina Sok an email. Ryan Sadlier
(Market Leader-Central Territory) was copied on the email. Mr. Kellichan stated: “The following
charts have an insufficient ROS. Please review the email attached below for Carewell [sic]
charting guidelines.” Mr. Kelliehan then listed four patients with insufficient review of systems.
Three (3) to six (6) systems were documented for the patients listed, but this did not meet the
Defendants’ requirements, Relator Cartier responded on 10/27/2016 explaining that the number
of systems reviewed and documented for each of the four patients was based upon the patients’
chief complaints/history of present illnesses.

85. Ryan Sadlier (Market Leader-Central Territory) replied to Relator Cartier’s email!
on 10/27/2016, saying: “As far as the ROS goes...this was a follow up email I just received from
Dave Shafner'® (sic]...‘I just checked and the CareWell default ROS is still 13 points. There
should be no change there, Per Dr. Cornwell, this is NOT optional. Every urgent care visit, every
patient, gets this done. This must be done per our risk management, and for our malpractice
insurance. I don’t know how to word it more strongly. [f you aren’t sure how to add the default
ROS for people give me a call in Peabody and T can walk you through it.’”

86. Relator Carticr replied to Mr, Sadlier on 10/27/2016 explaining to him: “I wrote
back with concrete examples to show patients with low acuity (no sig medical history, stable
vital signs, and a complaint that only involves | body system) oftentime [sic] only need a
focused history and physical for that complaint...Doing the complete history and physical exam

on patients like these feels like it is done to elevate the level of the visit, and is, by current

 

'6 David Schaffner is a Nurse Practitioner at CareWell. The Relator states that he is the trainer on
the Athena software and works closely with Dr. Cornwell.
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standards overkill. [ respect that Care Well has policies, but at the end of the say, my job is about
patient care. Oftentimes when I do a full history and physical on patients (like the examples
above) they often appear to be confused and ask me why I’m examining things that have nothing
to do with their injury or ailment.”

87, Dr. John Cornwell replied to the Relator’s email on 10/31/2016 stating: “I was
referred the message below and must with duc respect let you know that you are not following
policy. please [sic] let our staff do the intake 15 question'? ‘YES/NO’ review of system...your
focused review is not the policy of carewell [sic] and is not supported by your malpractice .
carrier...our policy is that every patient has a limited complete history, ROS and Physical
exam., when you were hired we discussed this at your training session and you agreed at that
time that his [sic] was a policy that you could work with. If this is not going to work with you,
please let me know. T would like to remind you that you are practicing at carewell [sic] under my
supervision and this is not up for discussion.”

88. = On 10/27/2016, Shaun Ginter, CEO of CareWell Urgent Care Centers of
Massachusetts and Urgent Care Centers of New England, sent an email to Dr, Cornwell, Olivier
Gherardi (President of CareWell Urgent Care of Rhode Island), and the Market Leaders. ‘The
subject line of the email states: “See below comments from last nights [sic] coding review” and
the body of the email includes a chart with the patients’ names, dates of service, Care Well
facility of service, comments and status. The four patients referenced in Courtney Kelliehan’s

10/26/2016 email to Relator Cartier are listed among the patients in Mr. Ginter’s chart. Prior to

 

'7 Relator Cartier states that there are a total of thirteen (13) body systems. She adds that Dr,
Cornwell might be referring to the ears, nose, mouth and throat as separate systems, but these are
categorized under one system (“ENMT”) per Medicare regulations.

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emailing Relator Cartier on 10/31/2016, Dr. Cornwell responded to the email from Mr, Ginter
saying: “I reviewed the charts from Cambridge and they are definitely incomplete, the intake was
incomplete; done by Christina Sok.. [ am sure that the other charts will reveal the same thing...in
every case it is apparent in the chart that the staff is not answering every question in the HPI
(history of present illness) or doing the 15 question “YES/NO” review of systems. I think the
practice managers can easily discuss this with the staff to get it right.” Ms. Sok forwarded this
email to Relator Cartier on November 20, 2016.

Presumptively upcoding the level of service of a substantial number of patients either from

a level 2 to a level 3, from a level 3 to a level 4, or from a level 2 to a level 4 rather than
relying on individualized patient medical history, examination and medical decision making

to determine the level of care most suited to each patient’s clinical needs

89. The Defendants upcode the level of service cither from a level 2'® to a level 3'9,

 

 

or fiom a level 3 to a level 4”, or from a level 2 to a level 4, rather than relying on individualized
patient histories, examinations and complexity of the medical decision making in determining
the level of care most suited to each patient. This is directly contrary to Medicare regulations
which state that Medicare covers only those services that are “reasonable and necessary for the
diagnosis or treatment of illness or injury.” See paragraph 33 herein. This is also directly
contrary to Massachusetts Medicaid regulations, which state that Massl-ealth only covers
services that are “reasonably calculated to prevent, diagnose, prevent the worsening of, alleviate,
correct, or cure conditions” and only when “there is no other comparable, available, and suitable

medical service or site of service that is more conservative or less costly to the MassHealth

 

® CPT code 99202 for new patients and CP'l cade 99212 for established patients.
* CPT code 99203 for new patients and CPT code 99213 for established patients.
© CPT code 99204 for new patients and CPT code 99214 for established patients.
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agency.” See paragraph 63 herein. In addition, this is also directly contrary to Rhode Island
Medicaid regulations which state that the RI Medicaid program only provides payment for
covered services only when the services are determined to be medically necessary, meaning
“medical, surgical, or other services required for the prevention, diagnosis, cure or treatment of a
health related condition...not be provided solely for the convenience of the beneficiary, caretaker,
or service provider.” See paragraph 65 herein.

90. Three components—history, examination and medical decision-making—
primarily determine the CPT code to be billed for an urgent care visit.?! Within each component,
specific Medicare requirements must also be met. For a level 4 visit for established patients,
documentation of the history component must show four (4) clements from the history of present
illnesses”; two (2) to nine (9) body systems reviewed”; and one element from past/family/sovial
history**, Documentation for the physical examination must show that at least two (2) elements
in at least six (6) body systems?> were examined. In addition, the medical decision making for a
level 4 visit for established patients must be moderately complex. For a level 4 visit for new

patients, documentation of the history component must show four (4) elements from the history

 

4 The 1995 and 1997 Documentation Guidelines for Evaluation and Management Services state
that the descriptors for the levels of E/M services recognize seven components which are used in
defining the levels of E/M services. These components are: history; examination; medical
decision making; counseling; coordination of care; nature of presenting problem; and time. The
three key components when selecting the appropriate level of E/M services provided are history,
examination, and medical decision making. The last four of these components are subsidiary in
determining the level of service. See paragraph 42 herein.

22 "his is an “extended” history of present illnesses, per Medicare regulations.

% This is un “extended” review of systems, per Medicare regulations.

24 This is a “pertinent” past/family/social history, per Medicare regulations.

*5 This is a “detailed” examination, per Medicare regulations. Alternatively, twelve (12) elements
in two (2) or more body can be examined.

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of present illnesses; at least ten (10) body systems reviewed”®; and past, family, and social
history must also all?” be documented. Documentation for the physical examination must show
that at least two (2) elements in at least nine (9)”* body systems2? were examined, In addition, the
medical decision making for a level 4 visit for new patients must be moderately complex.
Extensive documentation of the history and the physical examination, coupled with more
complex medical decision-making, yield to higher levels of Medicare and Medicaid
reimbursement,

91. Ateach CareWell facility, the physician or nurse practitioner who treated the
patient enters the CPT code to be billed for the visit into the company-wide Athena software
after the patient has left the examination room. The code selected for the service is based upon
the content of the service, as described in paragraph 90 above. When the level billed for the visit
was based on a medically necessary documentation of history and physical exam, rather than in
accordance with the Defendants’ mandates that all patients must receive a “limited complete”
review of’ systems and physical exam, the patient visits were most all upcoded by the Practice
Managers, Market Leader or the third-party billers,

92. At the end of the day, the facilities’ practice managers review the billing charts
for billing errors and insurance errors, and ensure that all chart elements essential for claim
billing are complete and properly executed by the clinical staff. The “Audit History” section

under the Billing tab in the patients’ profiles lisis the names of the persons who have entered a

 

26 This is a “complete” review of systems, per Medicare regulations,

27 This is a “complete” past/family/social history, per Medicare regulations.

8 This is based on the 1997 Documentation Guidelines for Evaluation and Management
Services, The 1995 guidelines state that eight (8) body systems must be examined.

29 This is a “comprehensive” exam, per Medicare regulations,

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service code for the visit. The Audit [Tistory reveals that the practice managers, who have had no
contact with the patients, add a higher level E/M code during their daily review of the patient
charts. This results in an upcoding of the visits either from a level 2 to a level 3, from a level 3 to
a level 4, or from a level 2 to a level 4. This upcoding is engaged without consulting the patients’
treating physicians or nurse practitioners. In other instances, the Audit History section of the
Billing tab shows that Ryan Sadlier (Markel Leader-Central Territory) upcodes the visits. After
review by the practice managers and the market leaders, the claims are sent to a third-party
billing company.*” Those patient visits which were not upcoded by the practice managers or the
market leaders are most all upcoded by the third-party billers, days after the visit took place.

93. The Relator observed that the practice managers who upcode the visits do not
necessarily have a medical background. As an example, Courtney Kellichan, Practice Manager at
both Cambridge Inman and Cambridge F'resh Pond, had no medical background and previously
worked as a Field Colleague Trainer and Assistant Manager for CVS Health and as a Customer
Service Manager Store Trainer for Bed Bath and Beyond Inc.

94. Relator Cartier spoke with Mr. Kellichan on or around 10/17/2016, while working
at the Cambridge Inman facility, regarding the issue of upcoding. Mr. Kelliehan told the Relator
that he was instructed by Shaun Ginter to review the billing charts at the end of the day and to
always upcode to a level 4 every patient visit not already coded as a level 4. In addition, Mr.

Kelliehan told the Relator that he was instructed to automatically upcode to a level 4 all visits

 

3° Based on information and belief the name of the third-party billing company is “Sapphire
Medical Billing.” The company is headquartered in Nanuet, New York but the Relator learned
from Kristin Mannke (Nurse Practitioner at the Tewksbury and Lexington facilities) that the
company outsources to India. The Relator states that Courtney Kellichan (Practice Manager)
confirmed that Sapphire is located in India.

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during which the patients had lab work or x-rays done. The Relator expressed her concerns about
the company practices and Mr. Kelliehan agreed, adding that he believed “the things this
company is doing might be fraudulent.”

95. According to the Physicians Fee Schedule, on average, nationwide Medicare
reimbursement for a level 3 visit is between $29.72 (established patient) and $33.66 (new
patient) more than Medicare reimbursement for a level 2 visit. Similarly, on average, nationwide
Medicare reimbursement for a level 4 visit is between $34.73 (established patient) and $57.28
(new patient) more than Medicare reimbursement for a level 3 visit. The Relator states that the
majority of the patients who visit the CareWell facilities are new patients. In addition, the
Relator stutes that sixteen (16) CareWell facilities*' treat an average of 444 patients daily.

96. Relator Cartier recalls a phone call from Dr. Cornwell on 09/22/2016 regarding
her billing practices. He told the Relator that he was going through her patient charts in real time
and that she was consistently billing at an incorrect rate, He said: “They should be level 4 visits
and you are coding at level 3. If you do not bill at a level 4, it would be a deal breaker. It doesn’t
even cost the patient more money. This is the second time [am speaking to you about this and I
need you to change your behavior.” The Relator asked if she could speak to a coder in order to
better understand the issue. In response, Dr, Cornwell said: “No you may not speak to a coder,
It’s just in the guideline.”

97. The guideline Dr. Cornwell was referring lo is the “Level 4 Reference Card.” Dr,

Cornwell directed the Relator to look at the guidelines in the clinical manual’? during the call.

 

3! "The calculation excludes data on the Fitchburg facility.

2 The Relator says that the clinical manual is located on a table next to the computers in the
clinical area.

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[lowever, the Relator had looked through the manual before and had not found any coding
guidelines. Nor had she been told that any coding guidelines existed prior to this phone
conversation, despite having been a full-time employee of the company for several months, She
reported this to Dr, Cornwell during the phone call. A few minutes later, the Relator saw that
Courtney Kelliehan, Practice Manager, received a call from Dr, Cornwell. Following the call,
Mr, Kellichan left the clinical area, When he returned, he was holding a document, which he
placed inside the clinical manual. Shortly thereafter, the Relator checked the clinical manual
again and found the Level 4 Reference Card inside. This is the only coding guideline the Relator
saw in the clinical manual and the only coding guideline she has been given to date.

98. Dr, Cornwell sent a follow-up email to the Relator on 09/27/2016 saying: “i [sic|
hope you had a chance to review the coding guidelines i [sic] would suggest that an x-ray study
Pt [eee hos HPI (history of present illness), ROS (review of systems) PE (physical
examination) and should be moderate complexity in that you read an x-ray, so could be level
4,,.patients that have more than one Rx (prescription) should also probably be level 4...your
HPI, ROS and PE templates will enable you to use the level based on risk and decision making
and when you prescribe more than one medication or you read and [sic] x-ray it is moderately
complex decision making, you [sic] are currently coding average at level 3.34, Carewell average
is 3.7, urgent care industry standard is 3.7.”

99. Edward Levitan, M.D, is a physician who primarily works at the CareWell
Cambridge l'resh Pond facility. The Relator has learned that Dr. Levitan gave his notice that he

is leaving his employment with Care Well at the end of December 2016, She overheard the

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nurses* at the Cambridge Inman facility on or about 12/04/2016 say that Dr. Cornwell
repeatedly went to Fresh Pond to talk to Dr. Levitan because he “wasn’t billing appropriately.”
Dr. Levitan apparently refused to change his practices. According to the nurses, Dr. Cornwell
suggested that, if he wished to continue his employment with CareWell, Dr. Levitan would have
to relocate to the CareWell Northborough facility. The Relator, on information, believes that Dr.
Levitan resides near Wellesley, MA and the drive to Northborough, MA is about forty (40)
minutes long.

100. During a conversation with Courtney Kellichan on 10/17/2016 (see paragraph 94
herein), Mr, Kellichan told the Relator that Kim Brown, Practice Manger at the Billerica facility,
also did not agree with the company’s billing policies and procedures. On or about 12/02/2016,
during a conversation about facility staffing, Mr. Kellichan said that Ms. Brown had recently quit
her job.

Patient Examples

LOl. By way of illustration of the information noted above, the following are examples
of patients who received a medically unnecessary review of systems and physical examination,
and were upcoded pursuant to Defendants’ fraudulent practices and procedures.

Patient One

102. Relator Cartier has specific and independent knowledge that Patient | received a

medically unnecessary review of systems and physical examination, which resulted in the visit

being fraudulently upcoded.

 

3 The Relator believes the name of one of the nurses is Sam Corcoran.
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a. Patient I is an [18-year-old Tufts Health Plan (Medicaid replacement) patient who
visited the Worcester Lincoln facility on 10/18/2016.

b. Patient | was a new patient and had no chronic illnesses.

c. Patient | presented with a chief complaint of a “cough.” She reported that she had a
harsh, worsening cough that has lasted about three weeks, accompanied with pain and
post nasal drip. She did not have a fever, chills, chest pain, heartburn, nausea,
vomiting, edema, agitation, wheezing or shortness of breath. Patient | is not a smoker
and does not have asthma,

d. During that visit, Patient | had fourteen (14) systems reviewed, including:
constitutional, eyes, ears/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic,
psychiatric, endocrine, hematologic/lymphatic and allergic/immunologic.

e. In addition, patient 1 had ten (10) organ systems examined** during the visit,
including: constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck, lungs,
cardiovascular, musculoskeletal and neurologic.

f. Patient {| also had a chest x-ray done and was diagnosed with a cough.

g. Patient { was prescribed Azithromycin and a ProAir aerosol inhaler for her
symptoms,

h. The Relator coded the visit as a level 3 for new patients, CPT code 99203.

 

* The review of systems can be performed by the nurses/medical assistants at the Care Well
facilities. The physica! examination must be performed by the physician/nurse practitioner
treating the patient.
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i. Approximately three hours alter the visit, Nicole ‘roy (“ntroy2”), the Practice
Manager at Worcester Lincoln, changed the procedure code from 99203 to 99204,
thereby upcoding the visit to a new patient level 4.

j. ‘Three days later, on 10/21/2016, biller “geuptad” added a Modifier -25 to the CPT
code for the visit. No clinical justification was given.

k. The Relator saw that the visit was fraudulently upcoded from a level 3 (99203) to a
level 4 (99204) because Patient | presented with a simple/limited chief complaint of a
cough and no comorbidities. As such, a complete review of systems was not
medically necessary and was only performed to meet the Defendants’ mandates.
Based on her training and experience, the Relator knew that a patient with a chief
complaint of a cough and no additional symptoms should have received an extended
review of systems, where only five (5) systems are reviewed (constitutional, eyes,
ears/nose/mouth/throat, respiratory, and cardiovascular),

I. Further, the patient received a medically unnecessary physical examination pursuant
to the Defendants’ mandates, beyond what was clinically required for her condition.
Based on her training and expericnce, the Relator knew that the patient should have
received a detailed examination, where only six (6) organ systems are examined
(constitutional, eyes, head, ears/nose/mouth/throat, respiratory, and cardiovascular).

m. In addition, the Relator states that the complexity of the medical decision making for
this patient visit was low,

a. No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no necessity

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for a complete review of systems and no need for a comprehensive exam, the
encounter does not meet the requirements for a level 4 visit (99204),

o. In addition, the Relator observed that the addition of a Modifier -25 was also
fraudulent because a chest x-ray was associated with the patient’s chief complaint and
part of the routine protocol to determine the patient’s diagnosis. As such, the chest x-
ray was not a separately identifiable service.

Patient Two

103. Relator Cartier has specific and independent knowledge that Patient 2 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a. Patient 2 is a 17-year-old Blue Cross Blue Shields of Massachusetts (primary
insurance) and Massachusetts Medicaid (secondary insurance) patient who visited the
Worcester Greenwood facility on 10/14/2016.

b, Patient 2 was a new patient with no chronic illnesses.

c. Patient 2 presented with a chief complaint of “earache, sore throat.” He reported that
he had a worsening pain of 7/10 in his throat, accompanied by difficulty swallowing
and hoarseness that started the previous day. He did not have a fever, chest pain,
abdominal pain, or nausea/vomiting/diarrhea.

d. During that visit, Patient 2 had eleven (11) systems reviewed, including:
constitutional, eyes, ears/nose/moutl/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and
endocrine.

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k.

In addition, the patient had ten (10) organ systems examined during the visit,
including: constitutional, psychiatric, head, eyes, car/nose/mouth/throat, neck, lungs,
cardiovascular, musculoskeletal, and neurologic.

Patient 2 also had a rapid strep throat test done and was diagnosed with otitis media
(middle ear infection) and pain in the throat.

Patient 2 was prescribed Amoxicillin.

The Relator coded the visit as a level 3 for new patients, CPT code 99203.

Three days later, on 10/17/2016, biller “ggupta4” changed the procedure code from
99203 to 99204, thereby upcoding the visit to a level 4 for new patients,

The Relator saw that the visit was fraudulently upcoded from a level 3 (99203) toa
level 4 (99204) because the patient presented with an uncomplicated complaint and
no comorbidities. As such, a complete review of systems was not medically necessary
and was only performed to meet the Defendants’ mandates. Based on her training and
experience, the Relator knew that a patient in Patient 2’s condition should have
received an extended review of systems, where only five (5) systems are reviewed
(constitutional, eyes, ears/nose/mouth/throat, respiratory, cardiovascular).

Further, the patient received a medically unnecessary physical examination pursuant
to the Defendants’ mandates, beyond what was clinically required for his condition,
Based on her training and experience, the Relator knew that the patient should have
received a detailed exam, where only six (6) organ systems are examined

(constitutional, head, eyes, ears/nose/mouth/throat, lung, cardiovascular).

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|. In addition, the Relator states that the complexity of medical decision-making for this
visit was low.

m. No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no necessity
for a complete review of systems and no need for a comprehensive exam, the
encounter does not meet the requirements for a level 4 visit (99204).

Patient Three

104. Relator Cartier has specific and independent knowledge that Patient 3 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a. Patient 3 is a 28-year-old Tufts Health Plan (Medicaid replacement) patient who
visited the Cambridge Inman facility on 10/17/2016.

b. Patient 3 was a new patient whose past medical history includes hypothyroidism.

c. Patient 3 presented with a chief complaint of a “rash.” She reported a red, itchy rash
on her hands and groin which started two (2) weeks prior to the visit. She explained
that she works in the food industry and “has been using new powdered gloves. She
has since discontinued use of them, Symptoms have gotten better but have not
resolved.” The patient reported having taken Benadryl.

d. During that visit, Patient 3 had eleven (11) systems reviewed, including:
constitutional, eyes, ears/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and
endocrine.

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e. [n addilion, the patient had eleven (11) organ systems examined during the visit,
including: constitutional, psychiatric, head, eyes, ear/nose/mouthy/throat, neck, lungs,
cardiovascular, musculoskeletal, neurologic and skin.

f, Patient 3 was diagnosed with contact dermatitis and was prescribed Clobetasol creme
and Desonide creme.

g. The Relator coded the visit as a level 3 for new patients, CPT code 99203.

h. Two days later, on 10/19/2016, biller “ddhokai” changed the procedure code from
99203 to 99204, thereby upcoding the visit to a level 4 for new patients.

i. The Relator saw that the visit was fraudulently upcoded from a level 3 (99203) to a
level 4 (99204) because the patient presented with an uncomplicated complaint so a
complete review of systems was not medically necessary. It was only performed to
meet the Defendants’ mandates. Based on her training and experience, the Relator
knew that a patient with a chief complaint of'a rash and no other symptoms should
have received an extended review of systems, where only four (4) systems are
reviewed (constitutional, ears/nose/mouth/throat, respiratory, skin).

Further, the patient received a medically unnecessary physical examination pursuant

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to the Defendants’ mandates, beyond what was clinically required for her condition.
Based on her training and experience, the Relator knew that the patient should have
received a detailed examination, where only five (5) organ systems are examined
(constitutional, ears/nose/mouth/throat, head, respiratory, skin).

k. In addition, the Relator states that the complexity of medical decision-making for this
visit was low,

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I, No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no necessity
for a complete review of systems and no need for a comprehensive cxam, the
encounter does not meet the requirements for a level 4 visit (99204).

Patient Four

105. Relator Cartier has specific and independent knowledge that Patient 4 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a. Patient 4 is an 18-year-old Tufts Health Plan (Medicaid replacement) patient who
visited the Worcester Greenwood facility on 10/14/2016.

b, Patient 4 was an established patient whose past medical history includes anxiety and
depression.

c. Patient 4 presented with a chief complaint of “right back pain.” She reported that she
had a sharp, 7/10 pain with movement that started the previous day while she was
working out, No injuries were noted.

m, During that visit, Patient 4 had fourteen (14) systems reviewed, including:
constitutional, eyes, ears/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic,
psychiatric, endocrine, hematologic/lymphatic and allergic/immunologic.

n. In addition, the patient had thirteen (13) organ systems examined during the visit,
including: constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck, lungs,
cardiovascular, abdomen, musculoskeletal, neurologic, skin, and back.

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o. Patient 4 was diagnosed with backache (“Dorsalgia, unspecified”) and was
prescribed Cyclobenzaprine and Ibuprofen.

p. The Relator coded the visit as a level 3 for established patients, CPT code 99213.

q. The next day, on 10/15/2016, biller “ddhokai” changed the procedure code from
99213 to 99214, thereby upcoding the visit to a level 4 for established patients.

r. The Relator states that the visit was fraudulently upcoded from a level 3 (99213) toa
level 4 (99214) because the patient presented with an uncomplicated chief complaint
and no comorbidities, As such, a complete review of systems was not medically
necessary and was only performed to meet the Defendants’ mandates. Based on her
training and experience, the Relator knew that a patient with a chief complaint of
back pain and no other symptoms should have received an extended review of
systems, where only four (4) systems are reviewed (constitutional, genitourinary,
skin, musculoskeletal).

' $. Further, the patient received a medically unnecessary physical examination pursuant
to the Defendants’ mandates, beyond what was clinically required for her condition.
Based on her training and experience, the Relator knew that the patient should have
received an expanded problem focused examination, where only four (4) organ
systems are examined (constitutional, genitourinary, musculoskeletal, skin),

t. In addition, the Relator states that the complexity of medical decision-making for this
visit was low.

u, No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no necessity

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for a complete review of systems and no need for a comprehensive exam, the

encounter does not meet the requirements for a level 4 visit (99214).
Patient Five

106. Relator Cartier has specific and independent knowledge that Patient 5 received a

medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a, Patient 5 is a 16-year-old Medicaid of Massachusetts patient who visited the

Worcester Lincoln facility on 10/18/2016.
b. Patient 5 was a new paticnt whose past medical history includes anxiety.

Patient 5 presented with a chief complaint of “earache.” The patient reported that

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she had a throbbing, sharp pain on her right ear that started a week prior to the
visit. She stated that she had missed two days of school due to the worsening pain
but described her pain level during the visit as 2/10. She added that it hurts to
chew, yawn, blow nose, or to lie on and pull on the ear. She did not have hearing
loss, nose or sinus problems, no popping/ringing in the ears, The patient did not
have a fever or other upper respiratory infection symptoms.

d. During that visit, Patient 5 had eleven (11) systems reviewed, including:
constitutional, eyes, ears/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and

endocrine.

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In addition, the patient had ten (10) organ systems examined during the visit,

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including: constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck,
lungs, cardiovascular, musculoskeletal, and neurologic.

f Patient 5 was diagnosed with otitis media (middle car infection) and prescribed |
Amoxicillin.

g. The Relator coded the visit as a level 3 for new patients, CPT code 99203.

h. Two days after the visit, on 10/20/2016, biller “ddhokai” changed the procedure
code from 99203 to 99204, thereby upcoding the visit to a level 4 for new
patients.

i. The Relator states that the visit was fraudulently upcoded from a level 3 (99203)
to a level 4 (99204) because the patient presented with a singular problem. As
such, a complete review of systems was not medically necessary and was only
performed to meet the Defendants’ mandates. Based on her training and
experience, the Relator knew that a patient with a chief complaint of an earache
should have received an extended review of systems, where only five (5) systems
are reviewed (constilutional, eyes, ears/nose/mouth/throat, cardiovascular,
respiratory).

Further, the patient received a medically unnecessary physical examination

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pursuant to the Defendants’ mandates, beyond what was clinically required for
her condition. Based on her training and experience, the Relator knew that the

patient should have received a detailed examination, where only six (6) organ

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systems are examined (constitutional, eyes, ears/nose/mouth/throat, head, .
cardiovascular, respiratory),

k. In addition, the Relator states that the complexity of medical decision-making for
this visit was low.

l. -No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no
necessity for a complete review of systems and no need for a comprehensive
exam, the encounter does not meet the requirements for a level 4 visit (99204).

Patient Six

107. Relator Cartier has specific and independent knowledge that Patient 6 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.,

a. Patient 6 is a 46-year-old Neighborhood Health Plan of Massachusetts (Medicaid
replacement) patient who visited the Cambridge Inman facility on 11/04/2016.

b. Patent 6 was a new patient with no chronic illnesses.

c. Patient 6 presented with a chief complaint of “dysuria (pain or discomfort when
urinating)” that started on or about 10/31/2016. Ele stated that has experienced
urgency for the last five days, and noticed a small amount of blood in his urine on
10/31/2016. The record states that he has a history of STDs (chlamydia and herpes).

d. During that visit, Patient 6 had eleven (11) systems reviewed, including:
constitutional, eyes, cars/nose/moutb/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and

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endocrine.

In addition, the patient had thirteen (13) organ systems examined during the visit:
constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck, lungs,
cardiovascular, abdomen, male genitourinary (GU), musculoskeletal, neurologic and
skin,

Patent 6 also had a urinary dipstick test done. While the test results were pending, the
patient was diagnosed with an urgent desire to urinate and high risk sexual behavior.
Patient 6 was administered Ceftriaxone and prescribed Azithromycin.

The Relator coded the visit as a level 3 for new patients, CP'T cade 99203.

Later on, in the same day, “rgreg” changed the procedure code from 99203 to 99204,
thereby upcoding the visit to a level 4 for new patients. “Rgreg” also added a modifier
-25 to the CPT code.

The Relator states that the visit was fraudulently upcoded from a level 3 (99203) to a
level 4 (99204) because a complete review of systems was not medically necessary
for diagnosing and treating the patient’s presenting problems. It was only performed
to meet the Defendants’ mandates. Based on her training and experience, the Relator
knew that a patient in Patient 6’s condition should have reccived an extended review
of systems, where only four (4) systems are reviewed (constitutional, gastrointestinal,
genitourinary, skin),

Further, the patient received a medically unnecessary physical examination pursuant
to the Defendants’ mandates, beyond what was clinically required for his condition.

Bused on her training and experience, the Relator knew that the patient should have

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received an expanded problem focused examination, where only four (4) organ
systems are examined (constitutional, skin, genitourinary, abdomen).

|. In addition, the Relator states that the complexity of medical decision-making for this
visit was moderate.

in. No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no necessity
for a complete review of systems and no need for a comprehensive exam, the

encounter does not meet the requirements for a level 4 visit (99204).

Patient Seven

108. Relator Cartier has specific and independent knowledge that Patient 7 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a. Patient 7 is a 32-year-old Tufts Public Health Plan patient who visited the
Northborough facility on 10/11/2016.

b. Patient 7 was a new patient with herpes simplex virus (HSV).

c. Patient 7 presented with a chief complaint of a “rash.” The patient stated that her
bilateral ankle rash which started less than one week prior to the date of the visit.
She described the rash as itchy and not painful.

d. During that visit, Patient 7 had twelve (12) systems reviewed, including:
constitutional, eyes, cars/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic,
endocrine, and allergic/immunologic.

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In addition, the patient had eleven (11) organ systems examined during the visit,
including: constitutional, psychiatric, head, cyes, car/nose/mouth/throat, neck,
lungs, cardiovascular, musculoskeletal, neurologic and skin.

Patient 7 was diagnosed with an insect bite and was recommended to use
Benadryl, an over the counter drug.

The Relator coded the visit as a level 2 for new patients, CPT code 99202.

Later on, in the same day, Alyssa Ashley-High (“aashleyhigh”), Practice Manager
at the Northborough facility, changed the procedure code from 99202 to 99203,
thereby upcoding the visit to a level 3 for new patients.

The Relator states that the visit was fraudulently upcoded from a level 2 (99202)
to a level 3 (99203) because the patient presented with a limited problem so a
complete review of systems was not medically necessary, It was only performed
to meet the Defendants’ mandates. Based on het training and experience, the
Relator knew that a patient with a chief complaint of a rash and no other
symptoms should have received an extended review of systems, where only four
(4) systems are reviewed (constitutional, ears/nose/mouth/throat, respiratory,
skin).

Further, the patient received a medically unnecessary physical examination
pursuant to the Defendants’ mandates, beyond what was clinically required for
her condition. Based on her training and experience, the Relator knew that the
patient should have received an expanded problem focused examination, where

only two (2) organ systems are examined (constitutional, skin).

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Patient Light

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In addition, the Relator states that the complexily of medical decision-making for
this visit was low.

No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no
necessity for a complete review of systems and no need for a comprehensive

exam, the encounter does not meet the requirements for a level 3 visit (99203).

Relator Cartier has specific and independent knowledge that Patient 8 received a

medically unnecessary review of systems and physical examination, which resulted in the visit

being fraudulently upcoded.

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Patient 8 is a 35-year-old Neighborhood Health Plan of Massachusetts (Medicaid
replacement) patient who visited the Worcester Greenwood facility on
10/14/2016.

Patient 8 was an established patient whose past medical history “GI
(gastrointestinal) issues.”

This was a follow-up visit for “injury of ankle.” Patient 8 reported she injured her
ankle a month ago. She stated that she was scen at the Care Well Lincoln facility
where she had an x-ray done. The results had come back negative, so the patient
was recommended to take Tylenol.

However, Patient 8’s pain continued so she returned for another visit. She
reported 8/10 worsening pain on her left ankle with throbbing during this visit.

Her ankle was uoted to be swollen. The patient was able to walk and has a history

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of plantar fasciitis (inflammation of a thick band of tissue that connects the heel
bone to the toes).

e. During this visit, Patient 8 had eleven (11) systems reviewed, including:
constitutional, cyes, cars/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and
endocrine.

f. In addition, the patient had ten (10) organ systems examined during the visit,
including: constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck,
lungs, cardiovascular, musculoskeletal, neurologic, and skin.

g. Patient 8 was diagnosed with “arthralgia of the ankle and/or feet” and was not
prescribed any medications.

h. The Relator coded the visit as a level 3 for established patients, CPT code 99213.

i. Approximately three days later, biller “ddhokai” changed the procedure code
from 99213 to 99214, thereby upcoding the visit to a level 4 for established
patients.

j. The Relator states that the visit was fraudulently upcoded from a level 3 (99213)
to a level 4 (99214) because the patient presented with a focused, uncomplicated
complaint so a complete review of systems was not medically necessary. It was
only performed to meet the Defendants’ mandates. Based on her training and
experience, the Relator knew that a patient in Patient 8’s condition should have
received an extended review of systems, where only two (2) systems ate reviewed
(constitutional, musculoskeletal).

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k. Further, the patient received a medically unnecessary physical examination
pursuant to the Defendants’ mandates, beyond what was clinically required for
her condition. Based on her training and experience, the Relator knew that the
patient should have received an expanded problem focused examination, where
only two (2) organ systems are examined (constitutional, musculoskeletal).

I. In addition, the Relator states that the complexity of medical decision-making for
this visit was low.

m. No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient, With no
necessity for a complete review of systems and no need for a comprehensive
exam, the encounter does not meet the requirements for a level 4 visit (99214).

Patient Nine

110. Relator Cartier has specific and independent knowledge that Patient 9 received a
medically unnecessary review of systems and physical examination, which resulted in the visit
being fraudulently upcoded.

a. Patient 9 is a 57-year-old CeltiCare Health Plan of Massachusetts (Medicaid
replacement) patient who visited the Worcester Greenwood facility on
10/14/2016.

b. Patient 9 was a new patient whose past medical history includes arthritis.

c. Patient 9 presented with a chief complaint of “sore throat...also sore tongue for 2

days.” She reported that she has had worsening throat pain with difficulty

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swallowing, which started three days prior to the visit. The patient described the
symptoms as being “worse during the day.”

d. During that visit, Patient 9 had cleven (LL) systems reviewed, including:
constitutional, cyes, cars/nose/mouth/throat, cardiovascular, respiratory,
gastrointestinal, genitourinary, musculoskeletal, integumentary, neurologic, and
endocrine.

e. In addition, the patient had eleven (11) organ systems examined during the visit,
including: constitutional, psychiatric, head, eyes, ear/nose/mouth/throat, neck,
lungs, cardiovascular, musculoskeletal, neurologic, and skin.

£. Patient 9 also had a rapid strep throat test done and was diagnosed with pain in the
throat and dental abscess.

g. Patient 9 was prescribed Augmentin.

h. The Relator coded the visit as a level 3 for new patients, CPT code 99203.

i. Three days later, on 10/17/2016, biller “ggupta4” changed the procedure code
from 99203 to 99204, thereby upcoding the visit to a level 4 for new patients.

j. The Relator states that the visit was fraudulently upcoded from a level 3 (99203)
to a level 4 (99204) because the patient presented with a focused, uncomplicated
complaint so a complete review of systems was not medically necessary, It was
only performed to meet the Defendants’ mandates. Based on her training and
experience, the Relator knew that a patient in Patient 9’s condition should have
received an extended review of systems, where only five (5) systems are reviewed
(constitutional, cyes, cars/nose/mouth/throat, lungs, cardiovascular).

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Further, the patient received a medically unnecessary physical examination
pursuant to the Defendants’ mandates, beyond what was clinically required for
her condition. Based on her training and experience, the Relator knew that the
patient should have received a detailed examination, where only six (6) organ
systems are examined (constitutional, eyes, ears/nose/mouth/throat, lungs,
cardiovascular, head),

In addition, the Relator states that the complexity of medical decision-making for
this visit was low.

No clinical reasoning or support was used in determining the level of history and
physical examination performed and documented for the patient. With no
necessity for a complete review of systems and no need for a comprehensive
exam, the encounter does not meet the requirements for a level 4 visit (99204).

These patient examples are representative of the Defendants’ practices. There are

many more examples of the foregoing.

C. Billing for higher levels of E/M services than_w were actually documented to have been
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The Defendants billed Medicare and Medicaid for higher levels of evaluation and

management services than were documented to have been delivered to the patients. As described

in paragraph 42 herein, the level of service to be billed for a visit is primarily determined by

three components—documentation of the patients’ history, documentation of the physical

examination, and complexity of the medical decision-making. Per Medicare regulations, specific

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requirements must be met within each component”, In addition, according to CareWell’s Level
4 Reference card, two of the three key components must be documented for established pationt
visits and all three key components must be documented for new patient visits. The patient
records clearly show that the Defendants billed for a service level without meeting the
requirements for each component used in determining the appropriate CP'T code. The Defendants
billed a new patient visit as a level 4 although the patient did not have ten (10) body systems
reviewed and/or at least nine (9) body systems examined. See patient examples 10, 11 and 12
below, This is contrary to Medicare regulations which state that “to bill the highest levels of visit
codes, the services furnished must meet the definition of the code.” See paragraph 58 herein.
Although the patients included below are not necessarily Medicare/Medicaid patients, the
Relator states that the Defendants’ protocol indicates by inference that this wrongdoing occurred
with Medicare and Medicaid patients as well.
Patient Examples

113. By way of illustration, the following are examples of patients who did not meet
the Defendants own documentation requirements for the level of service billed for the visit.
Patient Ten

{14. Relator Cartier has specific and independent knowledge that Patient 10’s visit was
fraudulently upcoded without meeting the documentation requirements for the higher E/M level
billed.

a. Patient 10 isan 18-year-old Blue Cross Blue Shields of Connecticut patient who

visited the Worcester Greenwood facility on 10/29/2016.

 

5 See paragraphs 44-56 herein.

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Patient 10 was a new patient with no chronic illnesses,

Patient 10 presented with a chief complaint of “right foot pain.” She reported that she
had 8/10 ache with weight bearing on her foot accompanied by swelling, redness and
ecchymosis. She stated the pain started the previous day.

During that visit, Patient 10 had three (3) systems reviewed, including: constitutional,
musculoskeletal, and integumentary.

In addition, the patient had six (6) organ systems examined during the visit,
including: constitutional, psychiatric, head, musculoskeletal, neurologic and skin.
Patient 10 also had a foot x-ray done and was diagnosed with pain and fracture of the
right foot. No prescriptions were given.

The Relator coded the visit as a level 3 for new patients, CPT code 99203.

Later on, in the same day, Ryan Sadlier “rsadlier2” changed the procedure code from
99203 to 99204, thereby upcoding the visit to a level 4 for new patients.

The Relator states that the visit was fraudulently upcoded from a level 3 (99203) to a
level 4 (99204) because Patient 14’s visit did not meet the documentation
requirements for a level 4 visit.

The patient records show that the patient only had three (3) systems reviewed, instead
of the ten (10) systems that must be reviewed for a level 4 new patient visit.

In addition, the patient had six (6) organ systems examined, instead of nine® (9)

required for a level 4 new patient visit.

 

36 This is in accordance with the /997 Documentation Guidelines for Evaluation and
Management Services. The 1995 version of the guidelines requires that eight (8) systems be
examined and documented.

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|. All three components (history, examination, and medical decision-making) must be
met for CPT code 99204, Because the patient did not meet the documentation
requirements for the history and physical examination components of the E/M service
level 4, the visit was wrongfully billed.
Patient Eleven
115. Relator Cartier has specific and independent knowledge that Patient [1’s visit was
fraudulently upcoded without meeting the documentation requirements for the higher E/M level
billed.
a. Patient 11 is a 55-year-old Blue Cross Blue Shields of Massachusetts patient who
visited the Cambridge [Inman facility on 10/21/2016.
b. Patient 1! was one of the four patients listed in Mr. Kelliehan’s 10/26/2016 email
for having an “insuflicient ROS (review of systems).”
c. Patient 11 was a new patient whose past medical history includes hypothyroidism.
She presented with a chief complaint of “red eye.” She reported that she had 3/10
pain that started two nights prior to the visit. The patient stated she has had
exposure to “pink eye” and has had no relief using cye drops. The record states
the patient had normal vision,
d. During that visit, patient 11 had five (5) systems reviewed, including:
constitutional, eyes, ears/nose/mouth/throat, cardiovascular and respiratory.
e. In addition, the patient had nine (9) argan systems examined during the visit,
including: constitutional, psychiatric, head, eyes, car/nose/mouth/throat, lungs,
cardiovascular, musculoskeletal, and neurologic.

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f. Patient (1 was diagnosed wiih conjunctivitis and prescribed Polytrim.

g. The Relator coded the visit as a level 2 for new patients, CPT code 99202.

h. Four days later, on 10/25/2016, Courtney Kellichan (“ckellichan”), Practice
Manager at the Cambridge Inman facility, changed the procedure code from
99202 to 99203, thereby upcoding the visit to a level 3 for new patients,

i. Five days after Mr. Kellichan’s change, and ten days after the visit, on
10/31/2016, biller “ggupta4” changed the procedure code from 99203 to 99204,
thereby upeoding the visit to a level 4 for new patients.

j. The Relator states that the visit was fraudulently upcoded from a level 2 (99202)
to a level 4 (99204) because Patient |1’s visit did not meet the documentation
requirements for a level 4 visit.

k. The patient records show that the patient only had five (5) systems reviewed,
instead of the ten (10) systems that must be reviewed for a level 4 new patient
visit,

I. All three components (history, examination, and medical decision-making) must
be met for CPT code 99204. Because the patient did not meet the documentation
requirements for the history component of the E/M service level 4, the visit was
wrongfully billed.

Patient Twelve

116. Relator Cartier has specific and independent knowledge that Patient 12’s visit was
fraudulently upcoded without meeting the documentation requirements for the higher E/M level
billed,

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a. Patient (2 is a 24-year-old United Healthcare patient who visited the Cambridge
Inman facility on 10/21/2016.

b. Patient 12 was one of the four patients listed in Courtney Kelliehan’s 10/26/2016
email for having an “insufficient ROS (review of systems).”

Patient {2 was a new patient whose past medical history includes asthma as a

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child. Ele presented with a chief complaint of a “rash.” The patient reported that
has had a rash by his left ankle for the past six (6) days.

d. During that visit, Patient 12 had five (5) systems reviewed, including:
constitutional, musculoskeletal, integumentary, neurologic, and endocrine.

e. In addition, the patient had nine (9) organ systems examined during the visit,
including: constitutional, psychiatric, head, neck, lungs, cardiovascular,
musculoskeletal, neurologic, and skin.

f. Patient 12 was diagnosed with cellulitis and prescribed Bactrim and Bactroban.

g. The Relator coded the visit as a level 3 for new patients, CPT code 99203.

h. Ten days after the visit, on 10/31/2016, biller “ggupta4” changed the procedure
code from 99203 to 99204, thereby upcoding the visit to a level 4 for new
patients.

i. The Relator states that the visit was fraudulently upcoded from a level 3 (99203)
to a level 4 (99204) because patient 16’s visit did not meet the documentation

requirements for a level 4 visit.

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j. The patient records show that the patient only had five (5) systems reviewed,
instead of the ten (10) systems that must be reviewed for a level 4 new patient
visit.

k. All three components (history, examination, and medical decision-making) must
be met for CPT cade 99204, Because the patient did not meet the documentation
requirements for the history component of the E/M service level 4, the visit was
wrongfully billed.

117. These patient examples are representative of the Defendants’ practices. There are
many more examples of the foregoing,

dding a Modifier -25 to patie

D. 5
identifiable” evaluation and management service

   

118. Medicare requires that Current Procedural Terminology (CPT) modifier -25 “be
appended to the medically necessary E/M service identifying this service as a significant,
separately identifiable service...and only when these services are provided by the same physician
(or same qualified non-physician practitioner) lo the same patient on the same day as another
procedure or other service... above and beyond the usual pre- and post-operative work of the
procedure.” However, the Defendants add a Modifier -25 to services that are not “significant,
separately identifiable” evaluation and management service above and beyond the care usually
associated with the procedure. The Defendants add a Modifier -25 to laboratory tests and x-rays,
even when such services are part of the routine protocol for the type of visit required by the
patients. The patient records show that the Modifier -25 is appended to claims by the facilities
Practice Managers, Market Leaders, or the third-party billing company personnel,

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119. Anexample of the appropriate use of the Modifier -25 is the following: if'a
patient present with a chief complaint of right ankle pain, the physician/nurse practitioner
treating the patient may perform an x-ray in order to properly diagnose the patient. [If the x-ray
shows that the patient has a broken ankle, the treating physician or nurse practitioner might place
an ortho glass*’ on the patient. When coding the visit, a Modifier -25 would be appropriately
added to the CPT code for the placement of the ortho glass because this was a significant and
separately identifiable procedure. However, the addition of a Modifier -25 would be
inappropriate for the x-ray, because the x-ray was associated with patient’s chief complaint and
part of the routine protocol to determine the patient’s diagnosis. In this example, the x-ray is not
a separately identifiable procedure.

Patient Examples

120. By way of illustration, the following are examples of patients whose services
were billed with an inappropriate Modifier -25,

Patient One

121. Relator Cartier has specific and independent knowledge that a Modifier -25 was
inappropriately appended to the CPT code billed for Patient {’s visit.

a. As described in paragraph 102 herein, patient 1 is an 18-year-old Tufts Health Plan
(Medicaid replacement) patient who visited the Worcester Lincoln facility on
10/18/2016,

b. Patient 1 was a new patient and had no chronic illnesses,

c. Patient I reported that she had a harsh, worsening cough that lasted about three

 

7 An ortho glass is a splinting system.
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weeks, accompanied with pain and post nasal drip.

d. As part of the visit, Patient { also had a chest x-ray done and was diagnosed with a
cough.

e. Patient 1 was prescribed Azithromycin and a ProAir aerosol inhaler for her
symptoms.

f. The Relator coded the visit as a 99203.

g. Nicole Troy (“ntroy2”), the Practice Manager at Worcester Lincoln upcoded the visit
to a 99204,

h. Three days later, on 10/21/2016, biller “ggupta4” added a Modifier -25 to the CPT
code for the visit. No clinical justification was given.

i. The Relator states that the addition of a Modifier -25 was inappropriate because the
chest x-ray was associated with patient’s chief complaint and part of the routine
protocol to determine the patient’s diagnosis. The Relator explains that s chest x-ray
for a patient who has been coughing for three (3) weeks is an entirely reasonable tool
for the diagnosis and treatment of the patient and was performed to ensure that the
patient did not have pneumonia. As such, the x-ray was not a separately identifiable
E/M service warranting the use ofa Modifier -25.

Patient Thirteen
122. Relator Cartier has specific and independent knowledge that a Modifier -25 was
inappropriately appended to the CPT code billed for Patient 13’s visit.
a. Patient 13 is a 16-year-old Tufts Public Health Plan (Medicaid replacement)
patient who visited the Worcester Lincoln facility on 10/18/2016.

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b. Patient 13 was a new patient with no chronic illnesses,

¢. Patient 13 presented with a chief complaint of “left arm puin/injury.” Ele reported
that he had 7/10 pain and numbness in the left elbow/forearm caused by a sports
related injury the previous day. The patient was tackled during a football game.

d. As part of the visit, Patient 13 had an x-ray done.

ec. The Relator coded the visit a level 3 for new patients, CPT code 99203, without a
modifier.

f. Three days later, on 10/21/2016, biller “ggupta4” added a Modifier -25 to the
CPT code.

g. The Relator states that the addition of the Modifier -25 to the CP’'T code was
inappropriate for this visit. The Relator explains that the x-ray was associated
with the patient’s chief complaint and required in order to assess the patient’s
main problem. The Relator explains that given the degree of discomfort and
numbness, as well as the mechanism of injury, it was reasonable to perform an x-
ray to evaluate the fracture/dislocation. As such, the x-ray was not a separately
identifiable service warranting the use of a Modifier-25.

Patient Fourteen
123. Relator Cartier has specific and independent knowledge that a Modifier -25 was
inappropriately appended to the CPT cede billed for Patient 14’s visit.

a. Patient 14 is a 13-year-old Blue Cross Blue Shields of Massachusetts (Medicaid
replacement) patient who visited the Worcester Lincoln facility on 10/18/2016,

b. Patient 14 was a new paticnt with no chronic illnesses.

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c. Patient 14 presented with a chief complaint of “left wrist pain.” [le reported sharp
pain, swelling and throbbing on his left wrist caused by a sports related injury the
previous day. The patient stated that he had fallen on his left hand while playing
soccer.

d. As part of the visit, the patient had a wrist x-ray done.

The level coded by the Relator does not appear under the Audit History section of

a

the Billing tab.

f. Three days after the visit, on 10/21/2016, biller “ggupta4” coded the visit as
99203, level 3 for new patients, and added a Modifier -25.

g. The Relator states that the addition of the Modifier -25 to the CPT code was
inappropriate for this visit. The Relator states that the x-ray was associated with
the patient’s chief complaint and required in order to assess the patient’s main
problem. The Relator explains that, given the degree of discomfort, as well as the
mechanism of injury, it is reasonable to perform an x-ray to evaluate the
fracture/dislocation. As such, the x-ray was not a separately identifiable service
warranting the use of a Modifier-25.

Patient Fifteen

124, Relator Cartier has specific and independent knowledge that a Modifier -25 was
inappropriately appended to the CPT code billed for Patient 15’s visit.

a. Patient 15 is an 82-year-old Medicare patient who visited the Northborough facility

on 10/11/2016.

b. Patient 15 was an established patient whose past medical history includes cholesterol

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and hypertension.

c. Patient 15 presented with a chief complaint of “right shoulder pain.” Ele reported that
he fell and has had 8/10 pain on his shoulder for the past four weeks, He explained
that the pain occurs when he raises his hand over his head. The patient also stated that
he was experiencing weakness.

d, As part of the visit, the patient had a shoulder x-ray done.

¢. The Relator coded the visit as 99214, level 4 for established patients, without a
modifier.

fF. The next day, “rgreg” added a Modifier -25 to the CPT code.

j. The Relator states that the addition of the Modifier -25 to the CPT code was
inappropriate for this visit. The Relator explains that the x-ray was associated with the
patient’s chief complaint and required in order to assess the patient’s main problem.
The Relator explains that, given the degree of discomfort, weakness, and the
mechanism of injury, it was reasonable to perform an x-ray to evaluate the
fracture/dislocation, As such, the x-ray was not a separately identifiable service
warranting the use of a Modifier-25,

125. These patient examples are representative of the Defendants’ practices. There are

many more examples of the foregoing.

X CAREWELL’S RELATIONSHIP WITH OTHER COMPANIES

 

A. Lahey Health
126. CareWell Urgent Care announced its partnership with Lahey Health on January
31, 2014, CareWell’s affiliation with Lahey Health launched a mutually beneficial and

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collaborative relationship that increases access to healthcare, with both organizations referring
patients based on their needs. Under the new partnership, CareWell clinics are able to refer
patients to Lahey [Health specialists and hospitals when necessary. Lahey Health’s hospitals,
conversely, can refer appropriate patients to ncarby CarcWell centers, reducing wait times and
costs for non-urgent patients.
B. Mount Auburn Hospital

127. Mount Auburn Hospital announced its affiliation with CareWell Urgent Care on
October 6, 2016. The affiliation will provide patients in Cambridge, MA and surrounding areas
an integrated healthcare solution with both organizations referring patients based on their needs.
CareWell patients have easy access to Mount Auburn Hospital specialists when necessary. In
turn, Mount Auburn Hospital patients have access to urgent care services, reducing wait times
and costs for non-urgent patients. With the patient’s permission, CareWell forwards x-rays, lab
results and diagnostic notes to Mount Auburn [Hospital doctors within hours of a visit.

XI. PERIOD OF TIME FRAUD HAS OCCURED

 

128. Relator Cartier alleges that CareWell has engaged in some or all of these schemes
at ull its urgent care facilities for the past three (3) years, since Dr. John Cornwell assumed
control of the company in 2013. The Relator states that Dr, Cornwell, in his role as President and
Medical Director of the Massachusetts facilities, constantly applies direct pressure to the
employees to meet the company’s mandates, The Relator states that Dr. Cornwell instituted the
fraudulent practices and mandates as described herein and continues to implement them rigidly

across all facilities.

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129. Relator Cartier began working as a per-diem Nurse Practitioner for CareWell in
May of 2016 and became a full-time employee in July of 2016, Notwithstanding, the Relator
learned that CareWell has engaged in some or all of these schemes at all ils urgent care facilities
for a while. The Relator states thal the Defendants are highly organized in the way they
implement the procedures and ensure that the mandates are met. This indicates to the Relator that
the mandates were not recently implemented, but rather have been practiced for a long time.

130. In her role as the sole Nurse Practitioner in a given urgent care facility, the
Relator does not work directly with fellow physicians. However, the Relator does follow-up on
patients treated by other providers at the different CareWell facilities. For instance, when the test
tesults of a patient treated by another physician come in, the Relator can interpret the results (be
it laboratory tests or x-rays) and/or record them into the patient’s profile. In doing so, the Relator
has noticed that physicians working at the different CareWell urgent care centers are engaging in
the same practices the Defendants mandate that the Relator follow. ‘The Relator states that the
physicians have worked for Care Well longer than she has, This indicated to the Relator that the
wrongdoing is not limited to a single urgent care facility, but rather it is standard throughout the
seventeen (17) facilities and has been practiced for a long time.

XL FACTS RELATING TO COUNT DU RETALIATION UNDER 31 U.S.C. SEC.
3730(h) AND M.G.L. C, 12 § 5J

131. On September 22, 2016, in direct response to her refugal to comply with the

 

fraudulent practices engaged by the Defendants, Relator Cartier was to subjected to threats,
intimidation and coercion. Among other things, she was the recipient of several emails
effectively threatening termination if she did not comply with the fraudulent schemes and she

was also the recipient of phone calls with similar and consistent verbal “pressure” to engage in
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the practices which she was attempting to stop. For example, as described in paragraph 96
herein, Relator Cartier received a phone cal! from Dr. John Cornwell on 09/22/2016 regarding
her billing practices. Dr. Cornwell told the Relator that he was going through her patient charts in
real time and that she was consistently billing at an incorrect rate. He said: “They should be level
4 visits and you are coding at level 3. [f you do not bill at a level 4, it would be a deal breaker. It
doesn’t even cost the patient more moncy. This is the second time [ am speaking to you about

this and [ need you to change your behavior.”

COUNT I: FALSE OR FRAUDULENT CLAIMS
(31 U.S.C, See. 3729(a)(1)(A), M.G.L. C. 12, §5B, AND R.L GEN. LAWS § 9-L.1-3)

132. The Plaintiff Relator repeats and re-alleges each allegation in each of the
preceding paragraphs as if fully set forth herein.

133. During the period from March 2013 to the present day, the Defendants knowingly
caused the presentation of false or fraudulent claims for payment or approval, in violation of The
False Claims Act, 31 U.S.C. Sec. 3729(a)(1)(A), M.G.L. C. 12 §5B, and R.L Gen. Laws § 9-
L.1-3 specifically, claims for payment to Medicare and Medicaid for unreasonable, unnecessary,
or unskilled evaluation and management services, or for evaluation and management services
that were not provided.

134. The Defendant CareWell certified that the claims were in fact necessary and
reasonable and the government relied on those statement and paid the fraudulent invoices.

135. By virtue of the false or fraudulent claims Defendants knowingly caused to be
presented, the United States, the Commonwealth of Massachusetts, and the State of Rhode Island

have suffered actual damages and are entitled to recover treble damages plus a civil monetary

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penalty for each false claim. The U.S. government, the Commonwealth of Massachusetts, and
the State of Rhode Island, unaware of the falsity of the claims and/or statements and in reliance

on the accuracy thereof, were damaged.

COUNT I: FALSE STATEMENTS
(31 U.S.C, Sec. 3729(a)(1)(B), M.G.L. CH. 12, § 5B, AND RL GEN. LAWS § 9-1.1-3)

136. Plaintiff Relator repeats and re-alleges each allegation in each of the preceding
paragraphs as if fully set forth herein.

137. During the period from March 2013 to the present day, the Defendants knowingly
made, used or caused to be made or used, false records or statements, including MDS forms,
toaterial to false or fraudulent claims, in violation of the False Claims Act, 31 U.S.C. Sec,
3729(a)(1)(B), M.G.L. C. 12, § 5B, and R.I. Gen. Laws § 9-1.1-3.

138. The Defendant Care Well certified that the claims were in fact necessary and
reasonable and the government relied on those statement and paid the fraudulent invoices.

139. By virtue of the false records or statements Defendants made, used or caused to
be made or used, the United States, the Commonwealth of Massachusetts, and the State of Rhode
Island have suffered actual damages and are entitled to recover treble damages plus a civil
monetary penalty for each false claim. The U.S. government, the Commonwealth of
Massachusetts, and the State of Rhode Island, unaware of the falsity of the claims and/or
statements and in reliance on the accuracy thereof, were damaged.

COUNT Il: RETALIATION V. CAREWELL
(31 U.S.C. See 3730(h) AND M.G.L. C. 12, § 5)

140. The Relator repeats and re-alleges each allegation in each of the preceding
paragraphs as if full set forth herein,
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141, During the period of May 2016 to the present day, the Relator engaged in lawful
acts and protected activity in furtherance of her efforts to stop more than one violations of the
False Claims Act.

142. On or about September 22, 2016 the Relator was harassed and threatened to be
discharged from her employment by Defendant CareWell because of lawful acts done by her and
her refusal to engage in fraudulent actions as hereinbefore described.

PRAYER FOR RELIEF

WHEREFORE, the Relator demands and prays that judgment be entered in favor of the

United States, the Commonwealth of Massachusetts, the State of Rhode Island and the Relator as

follows:

143. On Counts [ & I, under the False Claims Act, for the amount of the United
States’, the Commonwealth of Massachusetts’, and the State of Rhode Island's damages, trebled
as required by law and such civil penalties as are required by, together with all relief as may be
just and proper.

144. That civil penalties of $11,500 be imposed for each and every false claim that the
Defendants presented to the government entities herein.

145, On Counts [ & II, Attorneys fees and costs and as allowed by the False Claims
Act, as well as pre- and post-judgement interest.

146. On Count III, for special damages; litigation costs and attorney’s fees as allowed
by the FCA; and other damages for retaliation by the Defendants.

147, All other relief as may be required or authorized by law in the interest of justice,

DEMAND FOR JURY TRIAL

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The Relator, on behalf of herself and the United States, the Commonwealth of

Massachusetts, and the State of Rhode Island, demand a jury trial on all claims alleged herein.

Dated: January 12, 2017

Respectfully submitted,

The Relator Aileen Cartier
by her Counsel,

  

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